        Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 1 of 326



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 ABDUL MOHAMED WAKED FARES, et al.,

                Plaintiffs,
 v.

 JOHN E. SMITH, et al.,                                 Civil Action No. 16-1730-CKK

                Defendants.

                              PROVISION OF JOINT APPENDIX

       Pursuant to Local Civil Rule 7(n)(2) and this Court’s procedural orders, e.g., Dkt. No. 12,

Plaintiffs hereby provide the joint appendix. As the administrative record in this case is not

“voluminous,” cmt. to Rule 7(n), and as the parties cite to or rely on the entirety of the record in

their pleadings, the joint appendix comprises all 323 pages of the record Defendants provided to

Plaintiffs and certified as Dkt. No. 13.

                                              Respectfully submitted,


                                                     /s/ Peter J. Kahn
                                             Peter J. Kahn (D.C. Bar No. 238386)
                                             David D. Aufhauser (D.C. Bar No. 949396)
                                             James E. Gillenwater (D.C. Bar No. 1020980)
                                             Justin S. Rowinsky (D.C. Bar No. 1028756)
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                                             Attorneys for Plaintiffs Abdul Waked; Mohamed
                                             Waked; Lucia Touzard; and Grupo Wisa, S.A.
Dated: December 20, 2016
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 2 of 326
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 3 of 326
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 4 of 326




                                                    1:16-cv-01730 0001
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 5 of 326




                                                    1:16-cv-01730 0002
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 6 of 326




                                                    1:16-cv-01730 0003
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 7 of 326




                                                    1:16-cv-01730 0004
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 8 of 326




                                                    1:16-cv-01730 0005
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 9 of 326




                                                    1:16-cv-01730 0006
                Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 10 of 326




JAMES GILLENWATER
       (202) 434-5238
  jgillenwater@wc.com




                                                 June 7, 2016

                                             CONFIDENTIAL

    Via Email and U.S. Mail


      John E. Smith
      Acting Director, Office of Foreign Assets Control
      U.S. Department of the Treasury
      1500 Pennsylvania Avenue, N.W.—Annex
      Washington, DC 20220



               Re:      May 24, 2016 Request for Reconsideration

    Dear Director Smith:

            On May 24, 2016, we delivered the attached letter to the Treasury Department via email
    and physical delivery. The letter initiated an application for reconsideration of the May 5, 2016
    Kingpin Act designation of the named petitioners. The letter made three requests consistent with
    the controlling regulations: (i) a request for a meeting, (ii) a request for the administrative record
    and (iii) a request and willingness to be subject to an expedited appeal process.

           To date, we have received no response. The courtesy of an answer is accordingly
    requested.

                                                   Sincerely,


                                                   James Gillenwater



    cc:        Adam J. Szubin, Acting Under Secretary for Terrorism and Financial Intelligence;




                                                                                   1:16-cv-01730 0007
       Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 11 of 326



May 24, 2016 Request for Reconsideration
June 7, 2016
Page 2



      Daniel L. Glaser, Assistant Secretary for Terrorist Financing;
      Priya Aiyar, Acting General Counsel




                                                                       1:16-cv-01730 0008
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 12 of 326




                                                    1:16-cv-01730 0009
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 13 of 326




                                                    1:16-cv-01730 0010
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 14 of 326




                                                    1:16-cv-01730 0011
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 15 of 326




                                                    1:16-cv-01730 0012
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 16 of 326




                                                    1:16-cv-01730 0013
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 17 of 326




                                                    1:16-cv-01730 0014
                 Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 18 of 326




From:                            OFAC.Reconsideration
Sent:                            Wednesday, June 08, 2016 2:34 PM
To:                              daufhauser@wc.com
Subject:                         OFAC Correspondence- FNK-7862
Attachments:                     FNK7862_Correspondence_Signed.pdf



Mr. Aufhauser,

Please find correspondence from OF AC regarding your clients attached for your review.

Sincerely,

OF AC Reconsideration




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                                                                                         1:16-cv-01730 0015
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 19 of 326




                                                    1:16-cv-01730 0016
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 20 of 326




                                                    1:16-cv-01730 0017
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 21 of 326




                                                    1:16-cv-01730 0018
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 22 of 326




                                                    1:16-cv-01730 0019
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 23 of 326




                                                    1:16-cv-01730 0020
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 24 of 326




                                                    1:16-cv-01730 0021
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 25 of 326




                                                    1:16-cv-01730 0022
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 26 of 326




                                                    1:16-cv-01730 0023
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 27 of 326




                                                    1:16-cv-01730 0024
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 28 of 326




                                                    1:16-cv-01730 0025
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 29 of 326




                                                    1:16-cv-01730 0026
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 30 of 326




                                                    1:16-cv-01730 0027
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 31 of 326




                                                    1:16-cv-01730 0028
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 32 of 326




                                                    1:16-cv-01730 0029
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 33 of 326




                                                    1:16-cv-01730 0030
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 34 of 326




                                                    1:16-cv-01730 0031
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 35 of 326




                                                    1:16-cv-01730 0032
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 36 of 326




                                                    1:16-cv-01730 0033
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 37 of 326




                                                    1:16-cv-01730 0034
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 38 of 326




                                                    1:16-cv-01730 0035
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 39 of 326




                                                    1:16-cv-01730 0036
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 40 of 326




                                                    1:16-cv-01730 0037
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 41 of 326




                                                    1:16-cv-01730 0038
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 42 of 326




                                                    1:16-cv-01730 0039
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 43 of 326




                                                    1:16-cv-01730 0040
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 44 of 326




                                                    1:16-cv-01730 0041
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 45 of 326




                                                    1:16-cv-01730 0042
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 46 of 326




                                                    1:16-cv-01730 0043
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 47 of 326




                                                    1:16-cv-01730 0044
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 48 of 326




                                                    1:16-cv-01730 0045
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 49 of 326




                                                    1:16-cv-01730 0046
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 50 of 326




                                                    1:16-cv-01730 0047
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 51 of 326




                                                    1:16-cv-01730 0048
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 52 of 326




                                                    1:16-cv-01730 0049
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 53 of 326




                                                    1:16-cv-01730 0050
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 54 of 326




                                                    1:16-cv-01730 0051
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 55 of 326




                                                    1:16-cv-01730 0052
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 56 of 326




                                                    1:16-cv-01730 0053
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 57 of 326




                                                    1:16-cv-01730 0054
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 58 of 326




                                                    1:16-cv-01730 0055
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 59 of 326




                                                    1:16-cv-01730 0056
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 60 of 326




                                                    1:16-cv-01730 0057
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 61 of 326




                                                    1:16-cv-01730 0058
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 62 of 326




                                                    1:16-cv-01730 0059
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 63 of 326




                                                    1:16-cv-01730 0060
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 64 of 326




                                                    1:16-cv-01730 0061
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 65 of 326




                                                    1:16-cv-01730 0062
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 66 of 326




                                                    1:16-cv-01730 0063
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 67 of 326




                                                    1:16-cv-01730 0064
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 68 of 326




                                                    1:16-cv-01730 0065
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 69 of 326




                                                    1:16-cv-01730 0066
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 70 of 326




                                                    1:16-cv-01730 0067
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 71 of 326




                                                    1:16-cv-01730 0068
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 72 of 326




                                                    1:16-cv-01730 0069
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 73 of 326




                                                    1:16-cv-01730 0070
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 74 of 326




                                                    1:16-cv-01730 0071
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 75 of 326




                                                    1:16-cv-01730 0072
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 76 of 326




                                                    1:16-cv-01730 0073
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 77 of 326




                                                    1:16-cv-01730 0074
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 78 of 326




                                                    1:16-cv-01730 0075
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 79 of 326




                                                    1:16-cv-01730 0076
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 80 of 326




                                                    1:16-cv-01730 0077
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 81 of 326




                                                    1:16-cv-01730 0078
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 82 of 326




                                                    1:16-cv-01730 0079
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 83 of 326




                                                    1:16-cv-01730 0080
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 84 of 326




                                                    1:16-cv-01730 0081
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 85 of 326




                                                    1:16-cv-01730 0082
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 86 of 326




                                                    1:16-cv-01730 0083
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 87 of 326




                                                    1:16-cv-01730 0084
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 88 of 326




                                                    1:16-cv-01730 0085
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 89 of 326




                                                    1:16-cv-01730 0086
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 90 of 326




                                                    1:16-cv-01730 0087
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 91 of 326




                                                    1:16-cv-01730 0088
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 92 of 326




                                                    1:16-cv-01730 0089
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 93 of 326




                                                    1:16-cv-01730 0090
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 94 of 326




                                                    1:16-cv-01730 0091
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 95 of 326




                                                    1:16-cv-01730 0092
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 96 of 326




                                                    1:16-cv-01730 0093
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 97 of 326




                                                    1:16-cv-01730 0094
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 98 of 326




                                                    1:16-cv-01730 0095
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 99 of 326




                                                    1:16-cv-01730 0096
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 100 of 326




                                                     1:16-cv-01730 0097
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 101 of 326




                                                     1:16-cv-01730 0098
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 102 of 326




                                                     1:16-cv-01730 0099
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 103 of 326




                                                     1:16-cv-01730 0100
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 104 of 326




                                                     1:16-cv-01730 0101
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 105 of 326




                                                     1:16-cv-01730 0102
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 106 of 326




                                                     1:16-cv-01730 0103
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 107 of 326




                                                     1:16-cv-01730 0104
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 108 of 326




                                                     1:16-cv-01730 0105
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 109 of 326




                                                     1:16-cv-01730 0106
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 110 of 326




                                                     1:16-cv-01730 0107
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 111 of 326




                                                     1:16-cv-01730 0108
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 112 of 326




                                                     1:16-cv-01730 0109
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 113 of 326




                                                     1:16-cv-01730 0110
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 114 of 326




                                                     1:16-cv-01730 0111
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 115 of 326




                                                     1:16-cv-01730 0112
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 116 of 326




                                                     1:16-cv-01730 0113
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 117 of 326




                                                     1:16-cv-01730 0114
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 118 of 326




                                                     1:16-cv-01730 0115
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 119 of 326




                                                     1:16-cv-01730 0116
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 120 of 326




                                                     1:16-cv-01730 0117
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 121 of 326




                                                     1:16-cv-01730 0118
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 122 of 326




                                                     1:16-cv-01730 0119
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 123 of 326




                                                     1:16-cv-01730 0120
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 124 of 326




                                                     1:16-cv-01730 0121
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 125 of 326




                                                     1:16-cv-01730 0122
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 126 of 326




                                                     1:16-cv-01730 0123
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 127 of 326




                                                     1:16-cv-01730 0124
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 128 of 326




                                                     1:16-cv-01730 0125
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 129 of 326




                                                     1:16-cv-01730 0126
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 130 of 326




                                                     1:16-cv-01730 0127
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 131 of 326




                                                     1:16-cv-01730 0128
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 132 of 326




                                                     1:16-cv-01730 0129
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 133 of 326




                                                     1:16-cv-01730 0130
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 134 of 326




                                                     1:16-cv-01730 0131
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 135 of 326




                                                     1:16-cv-01730 0132
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 136 of 326




                                                     1:16-cv-01730 0133
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 137 of 326




                                                     1:16-cv-01730 0134
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 138 of 326




                                                     1:16-cv-01730 0135
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 139 of 326




                                                     1:16-cv-01730 0136
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 140 of 326




                                                     1:16-cv-01730 0137
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 141 of 326




                                                     1:16-cv-01730 0138
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 142 of 326




                                                     1:16-cv-01730 0139
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 143 of 326




                                                     1:16-cv-01730 0140
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 144 of 326




                                                     1:16-cv-01730 0141
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 145 of 326




                                                     1:16-cv-01730 0142
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 146 of 326




                                                     1:16-cv-01730 0143
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 147 of 326




                                                     1:16-cv-01730 0144
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 148 of 326




                                                     1:16-cv-01730 0145
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 149 of 326




                                                     1:16-cv-01730 0146
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 150 of 326




                                                     1:16-cv-01730 0147
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 151 of 326




                                                     1:16-cv-01730 0148
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 152 of 326




                                                     1:16-cv-01730 0149
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 153 of 326




                                                     1:16-cv-01730 0150
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 154 of 326




                                                     1:16-cv-01730 0151
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 155 of 326




                                                     1:16-cv-01730 0152
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 156 of 326




                                                     1:16-cv-01730 0153
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 157 of 326




                                                     1:16-cv-01730 0154
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 158 of 326




                                                     1:16-cv-01730 0155
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 159 of 326




                                                     1:16-cv-01730 0156
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 160 of 326




                                                     1:16-cv-01730 0157
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 161 of 326




                                                     1:16-cv-01730 0158
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 162 of 326




                                                     1:16-cv-01730 0159
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 163 of 326




                                                     1:16-cv-01730 0160
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 164 of 326




                                                     1:16-cv-01730 0161
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 165 of 326




                                                     1:16-cv-01730 0162
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 166 of 326




                                                     1:16-cv-01730 0163
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 167 of 326




                                                     1:16-cv-01730 0164
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 168 of 326




                                                     1:16-cv-01730 0165
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 169 of 326




                                                     1:16-cv-01730 0166
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 170 of 326




                                                     1:16-cv-01730 0167
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 171 of 326




                                                     1:16-cv-01730 0168
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 172 of 326




                                                     1:16-cv-01730 0169
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 173 of 326




                                                     1:16-cv-01730 0170
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 174 of 326




                                                     1:16-cv-01730 0171
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 175 of 326




                                                     1:16-cv-01730 0172
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 176 of 326




                                                     1:16-cv-01730 0173
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 177 of 326




                                                     1:16-cv-01730 0174
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 178 of 326




                                                     1:16-cv-01730 0175
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 179 of 326




                                                     1:16-cv-01730 0176
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 180 of 326




                                                     1:16-cv-01730 0177
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 181 of 326




                                                     1:16-cv-01730 0178
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 182 of 326




                                                     1:16-cv-01730 0179
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 183 of 326




                                                     1:16-cv-01730 0180
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 184 of 326




                                                     1:16-cv-01730 0181
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 185 of 326




                                                     1:16-cv-01730 0182
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 186 of 326




                                                     1:16-cv-01730 0183
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 187 of 326




                                                     1:16-cv-01730 0184
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 188 of 326




                                                     1:16-cv-01730 0185
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 189 of 326




                                                     1:16-cv-01730 0186
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 190 of 326




                                                     1:16-cv-01730 0187
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 191 of 326




                                                     1:16-cv-01730 0188
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 192 of 326




                                                     1:16-cv-01730 0189
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 193 of 326




                                                     1:16-cv-01730 0190
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 194 of 326




                                                     1:16-cv-01730 0191
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 195 of 326




                                                     1:16-cv-01730 0192
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 196 of 326




                                                     1:16-cv-01730 0193
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 197 of 326




                                                     1:16-cv-01730 0194
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 198 of 326




                                                     1:16-cv-01730 0195
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 199 of 326




                                                     1:16-cv-01730 0196
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 200 of 326




                                                     1:16-cv-01730 0197
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 201 of 326




                                                     1:16-cv-01730 0198
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 202 of 326




                                                     1:16-cv-01730 0199
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 203 of 326




                                                     1:16-cv-01730 0200
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 204 of 326




                                                     1:16-cv-01730 0201
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 205 of 326




                                                     1:16-cv-01730 0202
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 206 of 326




                                                     1:16-cv-01730 0203
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 207 of 326




                                                     1:16-cv-01730 0204
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 208 of 326




                                                     1:16-cv-01730 0205
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 209 of 326




                                                     1:16-cv-01730 0206
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 210 of 326




                                                     1:16-cv-01730 0207
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 211 of 326




                                                     1:16-cv-01730 0208
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 212 of 326




                                                     1:16-cv-01730 0209
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 213 of 326




                                                     1:16-cv-01730 0210
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 214 of 326




                                                     1:16-cv-01730 0211
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 215 of 326




                                                     1:16-cv-01730 0212
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 216 of 326




                                                     1:16-cv-01730 0213
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 217 of 326




                                                     1:16-cv-01730 0214
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 218 of 326




                                                     1:16-cv-01730 0215
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 219 of 326




                                                     1:16-cv-01730 0216
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 220 of 326




                                                     1:16-cv-01730 0217
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 221 of 326




                                                     1:16-cv-01730 0218
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 222 of 326




                                                     1:16-cv-01730 0219
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 223 of 326




                                                     1:16-cv-01730 0220
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 224 of 326




                                                     1:16-cv-01730 0221
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 225 of 326




                                                     1:16-cv-01730 0222
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 226 of 326




                                                     1:16-cv-01730 0223
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 227 of 326




                                                     1:16-cv-01730 0224
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 228 of 326




                                                     1:16-cv-01730 0225
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 229 of 326




                                                     1:16-cv-01730 0226
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 230 of 326




                                                     1:16-cv-01730 0227
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 231 of 326




                                                     1:16-cv-01730 0228
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 232 of 326




                                                     1:16-cv-01730 0229
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 233 of 326




                                                     1:16-cv-01730 0230
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 234 of 326




                                                     1:16-cv-01730 0231
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 235 of 326




                                                     1:16-cv-01730 0232
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 236 of 326




                                                     1:16-cv-01730 0233
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 237 of 326




                                                     1:16-cv-01730 0234
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 238 of 326




                                                     1:16-cv-01730 0235
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 239 of 326




                                                     1:16-cv-01730 0236
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 240 of 326




                                                     1:16-cv-01730 0237
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 241 of 326




                                                     1:16-cv-01730 0238
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 242 of 326




                                                     1:16-cv-01730 0239
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 243 of 326




                                                     1:16-cv-01730 0240
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 244 of 326




                                                     1:16-cv-01730 0241
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 245 of 326




                                                     1:16-cv-01730 0242
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 246 of 326




                                                     1:16-cv-01730 0243
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 247 of 326




                                                     1:16-cv-01730 0244
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 248 of 326




                                                     1:16-cv-01730 0245
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 249 of 326




                                                     1:16-cv-01730 0246
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 250 of 326




                                                     1:16-cv-01730 0247
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 251 of 326




                                                     1:16-cv-01730 0248
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 252 of 326




                                                     1:16-cv-01730 0249
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 253 of 326




                                                     1:16-cv-01730 0250
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 254 of 326




                                                     1:16-cv-01730 0251
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 255 of 326




                                                     1:16-cv-01730 0252
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 256 of 326




                                                     1:16-cv-01730 0253
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 257 of 326




                                                     1:16-cv-01730 0254
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 258 of 326




                                                     1:16-cv-01730 0255
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 259 of 326




                                                     1:16-cv-01730 0256
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 260 of 326




                                                     1:16-cv-01730 0257
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 261 of 326




                                                     1:16-cv-01730 0258
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 262 of 326




                                                     1:16-cv-01730 0259
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 263 of 326




                                                     1:16-cv-01730 0260
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 264 of 326




                                                     1:16-cv-01730 0261
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 265 of 326




                                                     1:16-cv-01730 0262
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 266 of 326




                                                     1:16-cv-01730 0263
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 267 of 326




                                                     1:16-cv-01730 0264
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 268 of 326




                                                     1:16-cv-01730 0265
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 269 of 326




                                                     1:16-cv-01730 0266
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 270 of 326




                                                     1:16-cv-01730 0267
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 271 of 326




                                                     1:16-cv-01730 0268
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 272 of 326




                                                     1:16-cv-01730 0269
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 273 of 326




                                                     1:16-cv-01730 0270
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 274 of 326




                                                     1:16-cv-01730 0271
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 275 of 326




                                                     1:16-cv-01730 0272
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 276 of 326




                                                     1:16-cv-01730 0273
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 277 of 326




                                                     1:16-cv-01730 0274
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 278 of 326




                                                     1:16-cv-01730 0275
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 279 of 326




                                                     1:16-cv-01730 0276
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 280 of 326




                                                     1:16-cv-01730 0277
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 281 of 326




                                                     1:16-cv-01730 0278
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 282 of 326




                                                     1:16-cv-01730 0279
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 283 of 326




                                                     1:16-cv-01730 0280
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 284 of 326




                                                     1:16-cv-01730 0281
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 285 of 326




                                                     1:16-cv-01730 0282
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 286 of 326




                                                     1:16-cv-01730 0283
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 287 of 326




                                                     1:16-cv-01730 0284
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 288 of 326




                                                     1:16-cv-01730 0285
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 289 of 326




                                                     1:16-cv-01730 0286
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 290 of 326




                                                     1:16-cv-01730 0287
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 291 of 326




                                                     1:16-cv-01730 0288
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 292 of 326




                                                     1:16-cv-01730 0289
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 293 of 326




                                                     1:16-cv-01730 0290
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 294 of 326




                                                     1:16-cv-01730 0291
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 295 of 326




                                                     1:16-cv-01730 0292
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 296 of 326




                                                     1:16-cv-01730 0293
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 297 of 326




                                                     1:16-cv-01730 0294
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 298 of 326




                                                     1:16-cv-01730 0295
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 299 of 326




                                                     1:16-cv-01730 0296
Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 300 of 326




                                                     1:16-cv-01730 0297
    Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 301 of 326
                                                                                                             Attachment 2

                             DESIGNATIONS PURSUANT TO
                           THE FOREIGN NARCOTICS KINGPIN
                                  DESIGNATION ACT
                       Specially Designated Narcotics Traffickers [SDNTK]s
                                                   (Last updated November 24, 2015)


        PRESIDENTIALLY IDENTIFIED KINGPINS                                 (34) PALMA SALAZAR, Hector Luis
                                                                           (35) QUINTERO MERAZ, Jose Albino
 The following individuals and entities have been identified by            (36) REVOLUTIONARY ARMED FORCES OF
     the President pursuant to section § 1904(b)(1) of the                      COLOMBIA
                        Kingpin Act.                                       (37) UNITED SELF-DEFENSE FORCES OF COLOMBIA
                                                                           (38) UNITED WA STATE ARMY
On June 1, 2000, the President identified the following 12 foreign
persons as significant foreign narcotics traffickers under the
                                                                      On June 1, 2004, the President identified the following 8 foreign
Kingpin Act.
                                                                      persons and 2 entities as significant foreign narcotics traffickers
                                                                      under the Kingpin Act.
     (1)    AMEZCUA-CONTRERAS, Jose de Jesus
     (2)    AMEZCUA-CONTRERAS, Luis Ignacio
                                                                           (39)   ARELLANO FELIX ORGANIZATION
     (3)    ARELLANO-FELIX, Benjamin Alberto                               (40)   ARELLANO FELIX, Eduardo Ramon
     (4)    ARELLANO-FELIX, Ramon Eduardo                                  (41)   ARELLANO FELIX, Francisco Javier
     (5)    CARO-QUINTERO, Rafael                                          (42)   CARRILLO FUENTES ORGANIZATION
     (6)    CARRILLO-FUENTES, Vicente                                      (43)   VALENCIA CORNELIO, Armando
     (7)    CHANG, Chi Fu                                                  (44)   NEMBHARD, Norris
     (8)    HEATH, Noel Timothy                                            (45)   RAMCHARAN, Leebert
     (9)    MATTHEWS, Glenroy Vingrove                                     (46)   ZEVALLOS GONZALES, Fernando Melciades
     (10)   OGUNGBUYI, Abeni O.                                            (47)   MIRCHI, Iqbal
     (11)   OGUNGBUYI, Oluwole A.                                          (48)   NOORZAI, Haji Bashir
     (12)   WEI Hsueh Kang
                                                                      On June 1, 2005, the President identified the following 8 foreign
On June 1, 2001, the President identified the following 12 foreign    persons and 1 entity as significant foreign narcotics traffickers
persons under the Kingpin Act.                                        under the Kingpin Act.

     (13)   ALVAREZ TOSTADO, Jose                                          (49)   ARRIOLA MARQUEZ, Miguel Angel
     (14)   AFGHAN, Sher                                                   (50)   ARRIOLA MARQUEZ, Oscar Arturo
     (15)   CARDENAS GUILLEN, Osiel                                        (51)   CORONEL VILLAREAL, Ignacio
     (16)   CARO QUINTERO, Miguel Angel                                    (52)   DIODATO DEL GALLO, Marco Marino
     (17)   CHANG, Ping Yun                                                (53)   GAXIOLA MEDINA, Rigoberto
     (18)   GILBOA, Joseph                                                 (54)   HERRERA GARCIA, Otto Roberto
     (19)   GUZMAN LOERA, Joaquin                                          (55)   MOHAMMAD, Haji Baz
     (20)   HAMIEH, Jamiel                                                 (56)   WONG, Moon Chi
     (21)   HIGUERA GUERRERO, Ismael                                       (57)   ARRIOLA MARQUEZ ORGANIZATION
     (22)   KHAN, Nasir Ali
     (23)   MALHERBE DE LEON, Oscar                                   On June 1, 2006, the President identified the following 3 foreign
     (24)   RAMON MAGANA, Alcides                                     persons and two entities as significant foreign narcotics traffickers
                                                                      under the Kingpin Act.
On May 31, 2002, the President identified the following 7 foreign
persons as significant foreign narcotics traffickers under the             (58)   IBRAHIM, Dawood
Kingpin Act.                                                               (59)   JAMIL GEORGES, Fahd
                                                                           (60)   NAWAY, Haji Ali
     (25)   DA COSTA, Luis Fernando                                        (61)   AMEZCUA CONTRERAS ORGANIZATION
     (26)   GONZALEZ QUIRARTE, Eduardo                                     (62)   DAWOOD IBRAHIM ORGANIZATION
     (27)   IBRAHIM, Haji
     (28)   KNOWLES, Samuel                                           On June 1, 2007, the President identified the following 5 foreign
     (29)   TUITO, Oded                                               persons and 1 entity as significant foreign narcotics traffickers
     (30)   VILLANUEVA MADRID, Mario Ernesto                          under the Kingpin Act.
     (31)   ZAMBADA GARCIA, Ismael
                                                                           (63)   ALIZAI, Haji Azizullah
On June 2, 2003, the President identified the following 7 foreign
                                                                           (64)   BARTH, Frederik Heinz
persons and 3 entities as significant foreign narcotics traffickers
under the Kingpin Act.                                                     (65)   CAZAREZ SALAZAR, Victor Emilio
                                                                           (66)   KHAN, Shahbaz
     (32) DIAS DE MENDONCA, Leonardo                                       (67)   PAREDES CORDOVA, Jorge Mario
     (33) ESPARRAGOZA MORENO, Juan Jose                                    (68)   GULF CARTEL


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                                                                                                          1:16-cv-01730 0298
    Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 302 of 326


On May 30, 2008, the President identified the following 4 foreign                (103) SANCHEZ ARELLANO, Luis Fernando
persons and 3 entities as significant foreign narcotics traffickers
under the Kingpin Act.                                                 On May 30, 2014, the President identified the following 3 foreign
                                                                       persons as significant foreign narcotics traffickers under the
     (69)   BELTRAN LEYVA, Marcos Arturo                               Kingpin Act.
     (70)   GONZALEZ POLANCO, Hermagoras
     (71)   MOHAMMADHASNI, Haji Asad Khan Zarkari                                (104) BARROS, Francisco de Fatima Frederico
     (72)   YAKUT, Cumhur                                                        (105) NAVARRO CERRANO, Victor Ramon
     (73)   BELTRAN LEYVA ORGANIZATION                                           (106) SALAZAR UMANA, Jose Adan
     (74)   'NDRANGHETA ORGANIZATION
     (75)   KURDISTAN WORKERS' PARTY                                   On June 1, 2015, the Treasury Department identified 1 the following
                                                                       foreign entity as a significant foreign narcotics trafficker under the
On April 15, 2009, the President identified the following 3 entities   Kingpin Act.
as significant foreign narcotics traffickers under the Kingpin Act.
                                                                                 (107) SHINING PATH
     (76) LA FAMILIA MICHOACANA
     (77) LOS ZETAS
     (78) SINALOA CARTEL
                                                                                     TREASURY KINGPIN DESIGNATIONS
On May 29, 2009, the President identified the following 3 foreign
persons and 1 entity as significant foreign narcotics traffickers                 The following individuals and entities have been
under the Kingpin Act.                                                       designated by the Treasury pursuant to section § 1904(b),
                                                                                  (2), (3), and/or (4) of the Kingpin Act. Treasury
     (79)   BHEEL, Imam                                                          designated Kingpins pursuant to § 1904(b)(4) are
     (80)   MAKLED GARCIA, Walid                                                             identified by an asterisk (“*”).
     (81)   RENDON HERRERA, Daniel
     (82)   HAJI JUMA KHAN ORGANIZATION                                On January 31, 2002, OFAC identified the following 15 foreign
                                                                       individuals and 12 foreign entities as derivative designations of
                                                                       significant foreign narcotics traffickers named under the Kingpin
On June 1, 2010, the President identified the following 5 foreign
                                                                       Act.
persons as significant foreign narcotics traffickers under the
Kingpin Act.
                                                                       Glenroy Matthews Designations
                                                                                  Individual:
     (83)   ALIZAI, Haji Agha Jan
                                                                            (1) Individual Removed On September 29, 2010
     (84)   BANDO, Haji
     (85)   CONTE, Ousmane
                                                                                 Entities:
     (86)   SULEMAN, Mohamed Bachir
                                                                            (2) Entity Removed On March 7, 2002
     (87)   VILLARREAL BARRAGAN, Sergio Enrique
                                                                            (3) Entity Removed On February 24, 2015
On June 1, 2011, the President identified the following 7 foreign
persons as significant foreign narcotics traffickers under the         AFO Chart
Kingpin Act                                                                       Individuals:
                                                                            (4) AGUILAR AMAO, Miguel
     (88)   CALLE SERNA, Javier Antonio                                     (5) Individual Removed On February 24, 2015
     (89)   INZUNZA INZUNZA, Gonzalo                                        (6) ARELLANO FELIX, Enedina
     (90)   ISHAQZAI, Haji Lal Jan                                          (7) FREGOSO AMEZQUITA, Maria Antonieta
     (91)   KOLBAYEV, Kamchybek Asanbekovich                                (8) GIL GARCIA, Jose Alejandro
     (92)   MWAU, John Harun                                                (9) HERNANDEZ PULIDO, Maria Elda
     (93)   NYAKINIYWA, Naima Mohamed                                       (10) MIJARES TRANCOSO, Gilberto
     (94)   TORRES FELIX, Manuel                                            (11) MORENO MEDINA, Luis Ignacio
                                                                            (12) OROPEZA MEDRANO, Francisco Javier
On June 1, 2012, the President identified the following 3 foreign           (13) Individual Removed On August 20, 2014
persons as significant foreign narcotics traffickers under the              (14) RAMIREZ AGUIRRE, Sergio Humberto
Kingpin Act.                                                                (15) TOLEDO CARREJO, Luis Raul

     (95) KELMENDI, Naser                                                        Entities:
     (96) SHAH, Sayed Wazir                                                 (16) ACCESOS ELECTRONICOS, S.A. de C.V.
     (97) SOTO GASTELUM, Jose Antonio                                       (17) ADMINISTRADORA DE INMUEBLES VIDA, S.A. de
                                                                                 C.V.
On May 31, 2013, the President identified the following 3 foreign           (18) ADP, S.C.
persons and 3 entities as significant foreign narcotics traffickers         (19) DISTRIBUIDORA IMPERIAL DE BAJA
under the Kingpin Act.                                                           CALIFORNIA, S.A. de C.V.

     (98) KARNER, Mihael
     (99) NOORZAI, Haji Kotwal                                         1
                                                                        The authority to identify significant foreign narcotics traffickers
     (100) LOS CABALLEROS TEMPLARIOS                                   under the Kingpin Act was delegated to the Treasury Department
     (101) LOS CACHIROS                                                on May 15, 2015.
     (102) LOS URABENOS

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                                                                                                          1:16-cv-01730 0299
    Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 303 of 326


     (20) FARMACIA VIDA SUPREMA, S.A. de C.V.
     (21) FORPRES, S.C.                                             On November 10, 2004, OFAC identified the following entity as a
     (22) GEX EXPLORE, S. de R.L. de C.V.                           derivative designation of significant foreign narcotics traffickers
     (23) OPERADORA VALPARK, S.A. de C.V.                           named under the Kingpin Act.
     (24) VALPARK, S.A. de C.V.
                                                                         (68) AERO CONTINENTE S.A. (n.k.a. NUEVO
                                                                              CONTINENTE S.A.)
MAG Chart
         Individuals:
                                                                    On November 24, 2004, OFAC identified the following 6 foreign
   (25) AGUIRRE GALINDO, Manuel                                     individuals under the Kingpin Act. AFO Chart, Press
   (26) Individual Removed On April 28, 2011
                                                                         (69) AURELIANO FELIX, Jorge
          Entities:                                                      (70) HIGUERA GUERRERO, Gilberto
     (27) COMPLEJO TURISTICO OASIS, S.A. de C.V.                         (71) LABRA AVILES, Jesus Abraham
                                                                         (72) MARTINEZ DUARTE, Armando
On February 18, 2004, OFAC identified the following 37 foreign
                                                                         (73) PEREZ PASUENGO, Efrain
individuals and 3 foreign entities as derivative designations of
significant foreign narcotics traffickers named under the Kingpin        (74) YANEZ GUERRERO, Rigoberto
Act. Press
                                                                    On January 12, 2005, OFAC identified the following 24 foreign
FARC Chart                                                          individuals and 15 foreign entities as derivative designations of
         Individuals:                                               significant foreign narcotics traffickers named under the Kingpin
                                                                    Act. AFO Chart, Press
   (28) ALBAN BURBANO, Luis Alberto
   (29) BOCOTA AGUABLANCA, Gustavo
                                                                               Individuals:
   (30) BRICENO SUAREZ, German
                                                                         (75) Individual Removed On January 30, 2013
   (31) BRICENO SUAREZ, Jorge
                                                                         (76) Individual Removed On January 30, 2013
   (32) CABRERA, Jose Benito
                                                                         (77) Individual Removed On January 30, 2013
   (33) CARACAS VIVEROS, Oscar
                                                                         (78) Individual Removed On January 30, 2013
   (34) CASTELLANOS GARZON, Henry
                                                                         (79) Individual Removed On January 30, 2013
   (35) DEVIA SILVA, Luis Edgar
                                                                         (80) Individual Removed On January 30, 2013
   (36) LONDONO ECHEVERRY, Rodrigo
                                                                         (81) Individual Removed On January 30, 2013
   (37) MARIN ARANGO, Luciano
                                                                         (82) Individual Removed On January 30, 2013
   (38) MARIN, Pedro Antonio
                                                                         (83) Individual Removed On May 24, 2012
   (39) MATA MATA, Noel
                                                                         (84) Individual Removed On January 30, 2013
   (40) MOLINA CARACAS, Tomas
                                                                         (85) Individual Removed On January 30, 2013
   (41) PINEDA PALMERA, Juvenal Ovidio
                                                                         (86) Individual Removed On January 30, 2013
   (42) SAENZ VARGAS, Guillermo Leon
                                                                         (87) Individual Removed On January 30, 2013
   (43) TONCEL REDONDO, Milton De Jesus
                                                                         (88) Individual Removed On January 30, 2013
   (44) TORRES VICTORIA, Jorge
                                                                         (89) Individual Removed On January 30, 2013
   (45) VARGAS PERDOMO, Eugenio
                                                                         (90) Individual Removed On January 30, 2013
   (46) Individual Removed On January 30, 2013
                                                                         (91) Individual Removed On January 30, 2013
                                                                         (92) Individual Removed On January 30, 2013
AUC Chart
                                                                         (93) Individual Removed On January 30, 2013
          Individuals:
                                                                         (94) Individual Removed On January 30, 2013
    (47) ARROYAVE RUIZ, Elkin Alberto
                                                                         (95) Individual Removed On December 19, 2012
    (48) ATENCIA PITALUA, Rafael Dario
                                                                         (96) Individual Removed On December 23, 2014
    (49) BLANCO PUERTA, Edgar Fernando
                                                                         (97) Individual Removed On January 30, 2013
    (50) BUITRAGO PARADA, Hector German
                                                                         (98) Individual Removed On January 30, 2013
    (51) CASTANO GIL, Carlos
    (52) Individual Removed On April 28, 2015
                                                                              Entities:
    (53) CASTANO GIL, Jose Vicente
                                                                         (99) Entity Removed On January 30, 2013
    (54) CIFUENTES GALINDO, Luis Eduardo
                                                                         (100) Entity Removed On January 30, 2013
    (55) DUQUE GAVIRIA, Ivan Roberto
                                                                         (101) Entity Removed On January 30, 2013
    (56) GIRALDO SERNA, Hernan
                                                                         (102) Entity Removed On January 30, 2013
    (57) GOMEZ ALVAREZ, Sor Teresa
                                                                         (103) Entity Removed On January 30, 2013
    (58) ISAZA ARANGO, Ramon Maria
                                                                         (104) Entity Removed On January 30, 2013
    (59) MANCUSO GOMEZ, Salvatore
                                                                         (105) Entity Removed On January 30, 2013
    (60) MURILLO BEJARANO, Diego Fernando
                                                                         (106) Entity Removed On January 30, 2013
    (61) PEREZ ALZATE, Guillermo
                                                                         (107) Entity Removed On May 24, 2012
    (62) Individual Removed On October 10, 2012
                                                                         (108) Entity Removed On January 30, 2013
    (63) Individual Removed On October 19, 2010
                                                                         (109) Entity Removed On January 30, 2013
    (64) SIERRA RAMIREZ, Juan Carlos
                                                                         (110) Entity Removed On May 24, 2012
                                                                         (111) Entity Removed On May 24, 2012
           Entities:
                                                                         (112) Entity Removed On January 30, 2013
     (65) FUNDACION PARA LA PAZ DE CORDOBA
                                                                         (113) Entity Removed On January 30, 2013
     (66) Entity Removed On October 10, 2012
     (67) Entity Removed On October 10, 2012

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                                                                                                      1:16-cv-01730 0300
    Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 304 of 326


On March 3, 2005, OFAC identified the following 4 foreign entities          (152) UDOMDET, Ronnayut
as derivative designations of significant foreign narcotics
traffickers named under the Kingpin Act. Press                                   Entities:
                                                                            (153) A-TEAM CHEMICALS COMPANY LTD.
     (114) CARIBBEAN BEACH PARK                                             (154) BANGKOK ARTI-FLORA DESIGN LIMITED
     (115) CARIBBEAN SHOWPLACE LTD                                                 PARTNERSHIP
     (116) RAMCHARAN LTD                                                    (155) BANGKOK SILK FLOWER COMPANY LTD.
     (117) RAMCHARAN BROTHERS LTD                                           (156) GREEN CAR RENT LIMITED PARTNERSHIP
                                                                            (157) HATKAEW COMPANY LTD.
On August 18, 2005, OFAC identified the following 12 foreign                (158) KRADUMPORN IMPORT EXPORT COMPANY
individuals and 12 foreign entities as derivative designations of                  LTD.
significant narcotics traffickers named under the Kingpin Act. Press        (159) MAESAI K.D.P. COMPANY LTD.
                                                                            (160) NICE FANTASY GARMENT COMPANY LTD.
AFO Chart
                                                                            (161) PLOYDAENG JEWELRY SHOP
          Individuals:
                                                                            (162) PLUS TECH AUTO SUPPLY COMPANY LTD.
     (118) ALTAMIRANO LOPEZ, Hector
                                                                            (163) PROGRESS SURAWEE COMPANY LTD.
     (119) Individual Removed On June 10, 2010
                                                                            (164) RATTANA VICHAI COMPANY LTD.
     (120) MELGOZA TORRES, Martin
                                                                            (165) RUNGRIN COMPANY LTD.
     (121) SOTO GIL, Yolanda Esthela
                                                                            (166) SCORE COMMERCIAL COMPANY LTD.
                                                                            (167) SIAM NICE COMPANY LTD.
          Entities:
                                                                            (168) V.R. FRUIT COMPANY
     (122) COMERCIALIZADORA AMIA, S.A. DE C.V.
     (123) KONTROLES ELECTRONICOS DE BAJA
                                                                       On July 12, 2006, OFAC identified the following 20 foreign
            CALIFORNIA, S.A. DE C.V.
                                                                       individuals and 14 foreign entities as derivative designations of
     (124) SERVICIOS ADMINISTRATIVOS Y DE                              significant narcotics traffickers named under the Kingpin Act. AFO
            ORGANIZACION, S.C.                                         Chart

AMO Chart                                                                        Individuals:
        Individuals:                                                        (169) Individual Removed On December 23, 2014
   (125) ARRIOLA MARQUEZ, Edgar Fernando                                    (170) Individual Removed On December 12, 2012
   (126) ARRIOLA MARQUEZ, Luis Raul                                         (171) Individual Removed On December 12, 2012
   (127) CARRERA YLLADES, Marisela                                          (172) Individual Removed On December 23, 2014
   (128) HERNANDEZ MORENO, Arturo                                           (173) Individual Removed On December 23, 2014
   (129) LOPEZ POBLANO, Beatriz Raquel                                      (174) ARREOLA GOMEZ, Guadalupe Armando,
   (130) MARTINEZ CASAS, Carlos Mario                                       (175) Individual Removed On July 30, 2013
   (131) PEREZ CASTANO, Mario Alberto                                       (176) ARRIOLA LUNA, Paola
   (132) TAPIA ORTEGA, Abigail                                              (177) Individual Removed On December 23, 2014
                                                                            (178) Individual Removed On December 23, 2014
          Entities:                                                         (179) CARRASCO MIRANDA, Willebaldo
     (133) AUTO EXPRESS DORADOS S.A. DE C.V.                                (180) Individual Removed On December 23, 2014
     (134) CAMBIOS PALMILLA S.A. DE C.V.                                    (181) LICON MUNOZ, Jorge Arturo
     (135) CHIHUAHUA FOODS S.A. DE C.V.                                     (182) Individual Removed On December 23, 2014
     (136) CORRALES SAN IGNACIO S.P.R. DE R.L. DE C.V.                      (183) Individual Removed On December 23, 2014
     (137) DEL NORTES CARNES FINAS SAN IGNACIO S.A.                         (184) Individual Removed On December 12, 2012
            DE C.V.                                                         (185) Individual Removed On December 23, 2014
     (138) GASOLINERAS SAN FERNANDO S.A. DE C.V.                            (186) Individual Removed On December 23, 2014
     (139) INDIO VITORIO S. DE P.R. DE R.L. DE C.V.                         (187) Individual Removed On July 30, 2013
     (140) INMOBILIARIA EL ESCORPION DEL NORTE S.A.                         (188) Individual Removed On December 23, 2014
            DE C.V.
     (141) INMOBILIARIA EL PRESON S.A. DE C.V.                                   Entities:
                                                                            (189) Entity Removed On December 23, 2014
On November 3, 2005, OFAC identified the following 11 foreign
                                                                            (190) Entity Removed On December 23, 2014
individuals and 16 foreign entities as derivative designations of
                                                                            (191) Entity Removed On December 23, 2014
significant narcotics traffickers named under the Kingpin Act. WEI
Hsueh Kang Financial Network Chart, Press                                   (192) Entity Removed On December 23, 2014
                                                                            (193) Entity Removed On December 23, 2014
          Individuals:                                                      (194) Entity Removed On December 23, 2014
     (142) CHAIJAMROONPHAN, Warin                                           (195) Entity Removed On December 23, 2014
     (143) CHAIWORASIN, Wilai                                               (196) Entity Removed On December 23, 2014
     (144) CHAIWORASIN, Wimonsi                                             (197) Entity Removed On December 23, 2014
     (145) CHARIAPAPORN, Hiran                                              (198) Entity Removed On December 23, 2014
     (146) JANPRAPAPORN, Arin                                               (199) Entity Removed On December 23, 2014
     (147) JUNTARAPRAPORN, Aping                                            (200) Entity Removed On December 23, 2014
     (148) KRADUMPORN, Somboon                                              (201) Entity Removed On December 23, 2014
     (149) KRADUMPORN, Varee                                                (202) Entity Removed On December 23, 2014
     (150) PHUANGPHET, Suwit
     (151) PICHAYOS, Winai

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                                                                                                        1:16-cv-01730 0301
    Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 305 of 326


On September 28, 2006, OFAC identified the following 15 foreign          (244) CAMARGO, Norbei
individuals and 5 foreign entities as derivative designations of         (245) CUEVAS CABRERA, Erminso
significant narcotics traffickers named under the Kingpin Act.           (246) LEAL GARCIA, Ignacio
                                                                         (247) LOPEZ MENDEZ, Luis Eduardo
AFO Chart, AFO Press                                                     (248) MOLINA GONZALEZ, Jose Epinemio
         Individuals:
                                                                         (249) OLARTE LOMBANA, Alonso
    (203) Individual Removed On April 8, 2009
                                                                         (250) PASCUAS SANTOS, Miguel Angel
    (204) HERNANDEZ SOMERO, Urbano
                                                                         (251) RODRIGUEZ MENDIETA, Jorge Enrique
    (205) JIMENEZ PEREZ, Jose Julian Bruno
                                                                         (252) ROPERO SUAREZ, Emiro del Carmen
    (206) PELAYO MENDOZA, Franco Arturo
                                                                         (253) SANTANILLA BOTACHE, Miguel
    (207) URIBE URIBE, Miguel Angel
                                                                         (254) TORRES CUETER, Guillermo Enrique
    (208) Individual Removed On May 21, 2010
                                                                         (255) TRASLAVINA BENAVIDES, Erasmo
          Entities:                                                 On November 27, 2007, OFAC identified the following 9 foreign
     (209) INMOBILIARIA ESPARTA S.A. DE C.V.                        individuals and 13 foreign entities as derivative designations of a
     (210) INMOBILIARIA ESTADO 29 S.A. DE C.V.                      significant narcotics trafficker named under the Kingpin Act.
     (211) INMOBILIARIA LA PROVINCIA S.A. DE C.V.                   Shahbaz Khan Chart, Press
     (212) INMOBILIARIA TIJUANA COSTA S.A. DE C.V.
     (213) PLAYA MAR S.A. DE C.V.                                             Individuals:
                                                                         (256) AZAM, Amir
FARC Chart, FARC Press                                                   (257) BEHZAD, Ahmad Abdulla Mohammad Abdulla
        Individuals:                                                     (258) DUZCAN, Ceylan
   (214) AGUILAR RAMIREZ, Gerardo Antonio                                (259) GHANI, Mohammad Nadeem
   (215) ALVIS PATINO, Gentil                                            (260) KHAN, Sherbaz
   (216) CARVAJALINO, Jesus Emilio                                       (261) LOAN, Waseem Rauf
   (217) GARCIA MOLINA, Gener                                            (262) MICHIELSEN, Tom
   (218) GRANDA ESCOBAR, Rodrigo                                         (263) NOOR MUHAMMAD, Abdul Majeed
   (219) JUVENAL VELANDIA, Jose                                          (264) SCHNEIDER, Simon
   (220) LISANDRO LASCARRO, Jose
   (221) SERPA DIAZ, Alvaro Alfonso                                           Entities:
   (222) TOVAR PARRA, Ferney                                             (265) A A TRADING FZCO
                                                                         (266) AL AMLOOD TRADING LLC
On May 17, 2007, OFAC identified the following 12 foreign                (267) BELS FLOWERS IMPORT EXPORT BVBA
individuals and 6 foreign entities as derivative designations of         (268) DUBAI TRADING COMPANY
significant narcotics traffickers named under the Kingpin Act.           (269) FMF GENERAL TRADING LLC
Zambada Garcia Chart, Press                                              (270) KHAN & SCHIRINDEL GMBH
                                                                         (271) OFFENBACH HAUSHALTWAREN B.V.
          Individuals:                                                   (272) SAF TECH S.L.
     (223) ZAMBADA NIEBLA, Maria Teresa                                  (273) SHAHBAZ KHAN GENERAL TRADING LLC
     (224) NIEBLA CORDOZA, Rosario                                       (274) SHAHBAZ TV CENTER
     (225) ZAMBADA NIEBLA, Midiam Patricia                               (275) SHAHNAWAZ TRADERS
     (226) ZAMBADA NIEBLA, Monica del Rosario                            (276) SHER MATCH INDUSTRIES (PVT.) LIMITED
     (227) ZAMBADA NIEBLA, Modesta                                       (277) ZULEKHA GENERAL TRADING LLC
     (228) PEREGRINA TOBOADA, Jose Antonio
     (229) BUENO GARCIA, Santos                                     On December 12, 2007, OFAC identified the following 23 foreign
     (230) LOPEZ DIAZ, Jesus Alfonso                                individuals and 19 foreign entities as derivative designations of a
     (231) ARAUJO LAVEAGA, Carmen Amelia                            significant narcotics trafficker named under the Kingpin Act.
     (232) TORRES FELIX, Javier                                     Blanca Cazares Chart, Press
     (233) ZAMBADA NIEBLA, Vicente
     (234) BORBOA ZAZUETA, Zynthia                                            Individuals:
                                                                         (278) AGUIRRE SANCHEZ, Blanca Armida
          Entities:                                                      (279) AGUIRRE SANCHEZ, Claudia
     (235) NUEVA INDUSTRIA DE GANADEROS DE                               (280) BELTRAN ROMERO, Mireya Denisse
            CULIACAN S.A. DE C.V.                                        (281) BELTRAN SANCHEZ, Hector Manuel
     (236) JAMARO CONSTRUCTORES S.A. DE C.V.                             (282) CAZARES SALAZAR, Blanca Margarita
     (237) ESTABLO PUERTO RICO S.A. DE C.V.                              (283) CAZAREZ PEREZ, Efrain
     (238) ESTANCIA INFANTIL NINO FELIZ S.C.                             (284) CAZAREZ PEREZ, Irma
     (239) MULTISERVICIOS JEVIZ S.A. DE C.V.                             (285) CAZAREZ PEREZ, Maria Tiburcia
     (240) ROSARIO NIEBLA CARDOZA A. EN P.                               (286) Individual Removed On May 21, 2010
                                                                         (287) MEZA CAZARES, Arturo
On November 1, 2007, OFAC identified the following 15 foreign            (288) MEZA CAZARES, Gipsy
individuals as derivative designations of a significant narcotics        (289) MEZA CAZARES, Lizbeth
trafficker named under the Kingpin Act. FARC Chart, Press                (290) MEZA GASPAR, Arturo
                                                                         (291) OLIVAS OJEDA, Jesus Joaquin
     (241) CABANA GUILLEN, Sixto Antonio                                 (292) OLIVAS OJEDA, Juan Carlos
     (242) CABRERA DIAZ, Hermilo                                         (293) OLIVAS OJEDA, Marco Antonio
     (243) CAICEDO COLORADO, Abelardo

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                                                                                                       1:16-cv-01730 0302
    Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 306 of 326


     (294) PATRACA PONCE, Jorge Normando                             On May 7, 2008, OFAC identified the following foreign entity as a
     (295) PEREZ VERDUZCO, Roberto                                   derivative designation of a significant narcotics trafficker named
     (296) Individual Removed On May 24, 2012                        under the Kingpin Act. Press
     (297) RUIZ ZAVALA, Aleyda
     (298) Individual Removed On August 29, 2012                          (333) Entity Removed On March 30, 2011
     (299) VELARDE SARABIA, Antonio
     (300) ZAZUETA URREA, Epifanio                                   On July 31, 2008, OFAC identified the following 13 foreign
                                                                     individuals and 6 foreign entities as derivative designations of a
                                                                     significant narcotics trafficker named under the Kingpin Act.
          Entities:
                                                                     FARC 1st Material Support Network Chart, Press
     (301) AGBAS CONSULTORES, S.A. DE C.V.
     (302) CAZPER IMPORTACIONES, S.A. DE C.V.                                  Individuals:
     (303) COCINA DE TIJUANA, S. DE R.L. DE C.V.                          (334) CONDE RUBIO, Nancy
     (304) COMERCIAL DOMELY, S.A. DE C.V                                  (335) CORREDOR IBAGUE, Jose Maria
     (305) COMERCIAL JOANA, S.A. DE C.V.                                  (336) Individual Removed On July 30, 2013
     (306) COMERCIALIZADORA BRIMAR’S, S.A. DE C.V.                        (337) CUESTA LEON, Josue
     (307) COMERCIALIZADORA JALSIN, S.A. DE C.V.                          (338) CULMA SUNZ, Bladimir
     (308) COMERCIALIZADORA TOQUIN, S.A. DE C.V.                          (339) DIAZ OREJUELA, Miguel Angel
     (309) CONSORCIO INMOBILIARIO DEL VALLE DE                            (340) FARFAN SUAREZ, Alexander
            CULIACAN, S.A. DE C.V.
                                                                          (341) GALLEGO RUBIO, Maribel
     (310) HACIENDA CIEN ANOS DE TIJUANA, S. DE R.L.
                                                                          (342) GUTIERREZ VERGARA, Luz Mery
            DE C.V.
                                                                          (343) MORALES LOAIZA, Edilma
     (311) MEXGLOBO, S.A. DE C.V.
                                                                          (344) PENA AREVALO, Ana Isabel
     (312) MULTISERVICIOS AGSA, S.A. DE C.V.
                                                                          (345) RUEDA GIL, Camilo
     (313) OPERADORA INTEGRAL DE COMERCIO, S.A. DE
                                                                          (346) TORRES, Ana Leonor
            C.V.
     (314) PATRACA, S.A. DE C.V.
                                                                               Entities:
     (315) SEPRIV, S.A. DE C.V.
                                                                          (347) CAMBIOS EURO LTDA
     (316) SIN-MEX IMPORTADORA, S.A. DE C.V.
                                                                          (348) Entity Removed On July 30, 2013
     (317) SISTEMA DE RADIO DE SINALOA, S.A. DE C.V.
                                                                          (349) COMUNICACIONES UNIDAS DE COLOMBIA
     (318) TECNOLOGIA DIGITAL Y SERVICIOS, S.A. DE
                                                                                 LTDA
            C.V.
                                                                          (350) DIZRIVER Y CIA. S. EN C.
     (319) TOYS FACTORY, S.A. DE C.V.
                                                                          (351) EXCHANGE CENTER LTDA
                                                                          (352) LA MONEDITA DE ORO LTDA
On January 15, 2008, OFAC identified the following 6 foreign
individuals and 1 foreign entity as derivative designations of
significant narcotics traffickers named under the Kingpin Act.       On August 5, 2008, OFAC identified the following 17 individuals
FARC 27th Front Jan 2008 Chart, Press                                and 14 foreign entities as derivative designations of a significant
                                                                     narcotics trafficker named under the Kingpin Act. Rigoberto
          Individuals:                                               Gaxiola Medina Chart
     (320) AGUDELO VELASQUEZ, Norberto Antonio
                                                                               Individuals:
     (321) PAVA GIRALDO, Dora Lilia
                                                                          (353) AGUIRRE CARDONA, Armando
     (322) VARGAS ALBA, Cesar Augusto
                                                                          (354) ARCE BORBOA, Ana Cristina
     (323) VARGAS ALBA, Jorge Leandro
                                                                          (355) BALDENEGRO BASTIDAS, Manuel
     (324) VARGAS ARIAS, Jorge Eliecer
                                                                                 Dario
     (325) Individual Removed On June 24, 2015
                                                                          (356) DUARTE MUNOZ, Roque
                                                                          (357) FITCH PARENTE, Jose Elmer
          Entities:
     (326) COMERCIALIZADORA COLOMBIAN MONEY                               (358) FITCH PARENTE, Pablo Antonio
            EXCHANGE LTDA.                                                (359) FITCH TOVAR, Jose Manuel
                                                                          (360) Individual Removed On April 28, 2015
On April 22, 2008, OFAC identified the following 4 foreign                (361) GARCIA DURAN, Maria Del Rosario
individuals and 2 foreign entities as derivative designations of a        (362) GAXIOLA GARCIA, Carlos Alberto
significant narcotics trafficker named under the Kingpin Act.             (363) GAXIOLA GARCIA, Maria Elena
FARC 27th Front April 2008 Chart, Press                                   (364) GAXIOLA GARCIA, Rigoberto
                                                                          (365) GUZMAN ENRIQUEZ, Juan Luis
          Individuals:                                                    (366) LUCERO DE MARTINEZ, Sandra
     (327) CALDERON VELANDIA, Nilson                                      (367) QUINTERO ARCE, Juan Francisco
     (328) CAMACHO BERNAL, Jose Edilberto                                 (368) VALENCIA JAIME, Rafael Angel
     (329) Individual Removed On February 19, 2014                        (369) VEGA SANCHEZ, Jose Raul
     (330) RINCON MOLINA, Myriam
                                                                               Entities:
          Entities:                                                       (370) AGRICOLA GAXIOLA S.A. DE C.V.
     (331) CAMBIOS EL TREBOL                                              (371) BIOESPORT S.A. DE C.V.
     (332) Entity Removed On February 19, 2014                            (372) COMPANIA MINERA DEL RIO CIANURY S.A. DE
                                                                                 C.V.
                                                                          (373) COPA DE PLATA S.A. DE C.V.


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                                                                                                        1:16-cv-01730 0303
    Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 307 of 326


     (374) DISTRIBUIDORA DE HERMOSILLO GAXIOLA                             (411) AKIRAPHOKIN, Thit
            HERMANOS S.A. DE C.V.                                          (412) BOONCHUA, Chanchira
     (375) DISTRIBUIDORA GRAN AUTO S.A. DE C.V.,                           (413) CHA, Ta Fa
     (376) FLETES Y TRANSPORTES GAXGAR S.A. DE C.V.                        (414) CHANG, Chin Sung
     (377) GRUPO INDUSTRIAL GAXIOLA HERMANOS S.A.                          (415) CHOU, Hsien Cheng
            DE C.V.                                                        (416) HLA, Aung
     (378) INMOBILIARIA GAXIOLA HERMANOS S.A. DE                           (417) HO, Chun Ting
            C.V.                                                           (418) KHINE, Oo Oo
     (379) INMUEBLES SIERRA VISTA S.A. DE C.V.                             (419) KYA, La Bo
     (380) MINERA LA CASTELLANA Y ANEXAS S.A. DE                           (420) LAO, Ssu
            C.V.                                                           (421) LI, Cheng Yu
     (381) MINERA RIO PRESIDIO S.A. DE C.V.                                (422) LI, Kai Shou
     (382) MOLDURAS DEL NOROESTE S.A. DE C.V.                              (423) MYINT, Li
     (383) TEMPLE DEL PITIC S.A. DE C.V.                                   (424) PAO, Hua Chiang
                                                                           (425) PAO, Yu Hsiang
On September 12, 2008, OFAC identified the following 3 foreign
                                                                           (426) PAO, Yu Liang
individuals as derivative designations of a significant narcotics
trafficker named under the Kingpin Act. FARC Chart, Press                  (427) PAO, Yu Yi
                                                                           (428) PO, Kong
     (384) CARVAJAL BARRIOS, Hugo Armando                                  (429) PRAPATWORA, Atchara
     (385) RANGEL SILVA, Henry de Jesus                                    (430) SAMSAENG, Suthep
     (386) RODRIGUEZ CHACIN, Ramon Emilio                                  (431) SHIH, Kuo Neng
                                                                           (432) THET, Naing Win
On September 30, 2008, OFAC identified the following 8 foreign             (433) TUAN, Shao Kuei
individuals as derivative designations of a significant narcotics          (434) WEI, Hsueh Lung
trafficker named under the Kingpin Act. FARC Chart, Press                  (435) WEI, Hsueh Yuan
                                                                           (436) YUN, Cheng
     (387) LESMES BULLA, Jairo Alfonso
     (388) TREJO FREIRE, Efrain Pablo                                           Entities:
     (389) JURADO PALOMINO, Orlay                                          (437) DEHONG THAILONG HOTEL CO., LTD.
     (390) SALINAS PEREZ, Ovidio                                           (438) HONG PANG ELECTRONIC INDUSTRY CO., LTD.
     (391) DAVALOS TORRES, Jorge                                           (439) HONG PANG GEMS & JEWELLERY (HK) CO.
     (392) CADENA COLLAZOS, Francisco Antonio                                     LIMITED
     (393) CALDERON DE TRUJILLO, Nubia                                     (440) HONG PANG GEMS & JEWELLERY COMPANY
     (394) LOPEZ PALACIOS, Liliana                                                LIMITED
                                                                           (441) HONG PANG GENERAL TRADING COMPANY,
On October 2, 2008, OFAC identified the following 10 foreign                      LIMITED
individuals and 6 foreign entities as derivative designations of a         (442) HONG PANG LIVESTOCK DEVELOPMENT
significant narcotics trafficker named under the Kingpin Act.                     COMPANY LIMITED
Amezcua Contreras Chart, Press                                             (443) HONG PANG MINING COMPANY LIMITED
                                                                           (444) HONG PANG TEXTILE COMPANY LIMITED
          Individuals:                                                     (445) KHUM THAW COMPANY LIMITED
     (395) ALVAREZ VAZQUEZ, Jose Gerardo                                   (446) SANGSIRI KANKASET COMPANY LIMITED
     (396) AMEZCUA CONTRERAS, Adan                                         (447) SHUEN WAI HOLDING LIMITED
     (397) AMEZCUA CONTRERAS, Patricia                                     (448) TET KHAM (S) PTE. LTD.
     (398) LADINO AVILA, Jaime Arturo                                      (449) TET KHAM CONSTRUCTION COMPANY
     (399) Individual Removed On January 10, 2012                                 LIMITED
     (400) PULIDO VALDIVIA, Javier                                         (450) TET KHAM GEMS CO., LTD.
     (401) RENDON POBLETE, Rosalinda                                       (451) TING SHING TAI JEWELLERY (HK) CO. LIMITED
     (402) Individual Removed On May 22, 2015                              (452) VEST SPECTRUM (S) PTE. LTD.
     (403) Individual Removed On May 22, 2015                              (453) YANGON AIRWAYS COMPANY LIMITED
     (404) Individual Removed On May 22, 2015
                                                                      On January 14, 2009, OFAC identified the following 3 foreign
          Entities:                                                   individuals as derivative designations of a significant narcotics
     (405) AMERICAN TUNE UP, S.A. DE C.V.                             trafficker named under the Kingpin Act. FARC Chart, Press
     (406) FARMACIA JERLYNE, S.A. DE C.V.
     (407) LABORATORIOS WILLMAR, S.A. DE C.V.                              (454) GARCIA ALBERT, Maria Remedios
     (408) Entity Removed On January 10, 2012                              (455) RODRIGO VEGA, Vlaudin
     (409) Entity Removed On May 22, 2015                                  (456) ZABALA PADILLA, Omar Arturo
     (410) Entity Removed On May 22, 2015
                                                                      On February 10, 2009, OFAC identified the following 14 foreign
On November 13, 2008, OFAC identified the following 26 foreign        individuals and 26 foreign entities as derivative designations of a
individuals and 17 foreign entities as derivative designations of a   significant narcotics trafficker named under the Kingpin Act.
significant narcotics trafficker named under the Kingpin Act.         Zevallos Chart, Press
United Wa State Army Financial Network Chart, Press
                                                                                Individuals:
           Individuals:                                                    (457) Individual Removed On July 30, 2013


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                                                                                                         1:16-cv-01730 0304
    Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 308 of 326


     (458) Individual Removed On April 28, 2015                               Entities:
     (459) Individual Removed On June 10, 2010                           (502) CARILLANCA C.A.
     (460) GONZALES GARBANCHO DE ZEVALLOS, Sara                          (503) CARILLANCA COLOMBIA Y CIA S EN CS
            Maria                                                        (504) CARILLANCA S.A.
     (461) Individual Removed On April 28, 2015                          (505) PARQUEADERO DE LA 25-13
     (462) MEJIA REGALADO, Jose Manuel
     (463) PORTILLA BARRAZA, Jorge                                  On September 3, 2009, OFAC identified the following 6 foreign
     (464) ZEVALLOS GONZALES DE ARREDONDO, Maria                    individuals and 2 foreign entities as derivative designations of a
            del Rosario                                             significant narcotics trafficker named under the Kingpin Act.
     (465) ZEVALLOS GONZALES, Sara Marilyn                          Collins Chart, Press
     (466) Individual Removed On September 26, 2013
     (467) MEJIA MAGNANI, John Yvan                                           Individuals:
     (468) ZEVALLOS GONZALES, Lupe Maritza                               (506) Individual Removed On May 22, 2015
     (469) ZEVALLOS GONZALES, Milagros Angelina                          (507) Individual Removed On May 22, 2015
     (470) ZEVALLOS GONZALES, Winston Ricardo                            (508) Individual Removed On May 22, 2015
                                                                         (509) Individual Removed On May 22, 2015
            Entities:                                                    (510) Individual Removed On May 22, 2015
     (471) AERO CONTINENTE E.I.R.L.                                      (511) Individual Removed On May 22, 2015
     (472) AERO COURIER CARGO S.A.
     (473) ASOCIACION CIVIL LOS PROMOTORES                                    Entities:
            AERONAUTICOS                                                 (512) Entity Removed On May 22, 2015
     (474) BELLOSOM ENTERPRISE, INC.                                     (513) Entity Removed On May 22, 2015
     (475) BLISSEY PANAMA INC.
     (476) CONTINENTE MOVIL Y SERVICIOS S.R.L.                      On October 14, 2009, OFAC identified the following 3 foreign
                                                                    individuals as derivative designations of a significant narcotics
     (477) CORPORACION DE INVERSIONES
                                                                    trafficker named under the Kingpin Act. Press
            EMPRESARIALES S.A.
     (478) EDITORA TRANSPARENCIA S.A.
                                                                         (514) ALTUN, Ali Riza
     (479) EMPRESA DE TRANSPORTES CHULUCANAS
                                                                         (515) AYDAR, Zubayir
            2000 S.A.
                                                                         (516) KARAYILAN, Murat
     (480) EMPRESA EDITORA CONTINENTE PRESS S.A.
     (481) LA CROSSE GROUP INC
                                                                    On October 22, 2009, OFAC identified the following 6 foreign
     (482) LASA PERU S.A.C.                                         individuals and 1 foreign entity as derivative designations of a
     (483) LUCERO IMPORT S.A.C.                                     significant narcotics trafficker named under the Kingpin Act.
     (484) ORIENTE CONTRATISTAS GENERALES S.A.                      Tijuana Cartel Chart, Press
     (485) ORIENTE TOURS S.R.L.
     (486) PERU GLOBAL TOURS S.A.C.                                           Individuals:
     (487) PERU TOTAL MARKET E.I.R.L.                                    (517) LEYVA ESCANDON, Edgardo
     (488) PERUVIAN PRECIOUS METALS S.A.C.                               (518) ABAROA DIAZ, Victor Manuel
     (489) REPRESENTACIONES ORIENTE S.R.L.                               (519) ABAROA PRECIADO, Aristoteles
     (490) SERVICIOS SILSA S.A.C.                                        (520) ABAROA PRECIADO, Victor Hussein
     (491) TALLER DE REPARACIONES DE AERODINOS                           (521) PRECIADO GAMEZ, Elia Yolanda
            SUS PARTES Y SERVICIOS AEREOS S.A.                           (522) ABAROA PRECIADO, Rosa Yolanda Nabila
     (492) TRANSPORTES AEREOS UNIDOS SELVA
            AMAZONICA S.A.                                                    Entity:
     (493) URANTIA SERVICES S.A.                                         (523) TIENDA MARINA ABAROA
     (494) VUELA PERU S.A.C.
     (495) AVIANDINA S.A.C.                                         On December 3, 2009, OFAC identified the following 22 foreign
     (496) SISTEMA DE DISTRIBUCION MUNDIAL, S.A.C.                  individuals and 10 foreign entities as derivative designations of a
                                                                    significant narcotics trafficker named under the Kingpin Act. Press
On July 20, 2009, OFAC identified the following 4 foreign
individuals as derivative designations of a significant narcotics             Individuals:
trafficker named under the Kingpin Act. Gulf Cartel and Los Zetas        (524) MORENO PEREZ, Felipe
Chart, Press                                                             (525) HUERTA RAMOS, Manuel
                                                                         (526) Individual Removed On November 26, 2013
     (497) CARDENAS GUILLEN, Ezequiel                                    (527) Individual Removed On May 24, 2012
     (498) COSTILLA SANCHEZ, Jorge Eduardo                               (528) Individual Removed On December 19, 2012
     (499) LAZCANO LAZCANO, Heriberto                                    (529) Individual Removed On December 19, 2012
     (500) TREVINO MORALES, Miguel                                       (530) Individual Removed On December 19, 2012
                                                                         (531) Individual Removed On November 26, 2013
On August 20, 2009, OFAC identified the following 1 foreign              (532) Individual Removed On December 19, 2012
individual and 4 foreign entities as derivative designations of a        (533) Individual Removed On June 12, 2013
significant narcotics trafficker named under the Kingpin Act.            (534) Individual Removed On June 12, 2013
International FARC Network Chart, Press
                                                                         (535) Individual Removed On June 12, 2013
                                                                         (536) MARTINEZ CANTABRANA, Cesar
          Individuals:
                                                                         (537) RUBIO ZAGA, Jesus Roman
     (501) MELO PERILLA, Jose Cayetano
                                                                         (538) Individual Removed On July 24, 2012

                                                                                                                                         8


                                                                                                       1:16-cv-01730 0305
    Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 309 of 326


     (539) Individual Removed On July 24, 2012                       (578) LOZADA PABON, Julio Cesar
     (540) Individual Removed On July 24, 2012                       (579) ARISTIZABAL GIRALDO, Tulio Adan
     (541) GUTIERREZ BARBOZA, Maureen Patricia                       (580) GALVIS MARIN, Samuel Gustavo
     (542) DE ICAZA LOZANO, Alejandro                                (581) JEREZ GALEANO, Jaime
     (543) LABORIN ARCHULETA, Clara Elena                            (582) LONDONO ZAPATA, Jesus Antonio
     (544) BELTRAN LEYVA, Alfredo                                    (583) Individual Removed On June 24, 2015
     (545) BELTRAN LEYVA, Hector                                     (584) Individual Removed On June 24, 2015
                                                                     (585) Individual Removed On July 24, 2012
            Entities:                                                (586) Individual Removed On July 24, 2012
     (546) Entity Removed On June 12, 2013                           (587) Individual Removed On July 24, 2012
     (547) MOREXPRESS, S.A. DE C.V.                                  (588) Individual Removed On July 24, 2012
     (548) Entity Removed On June 12, 2013                           (589) Individual Removed On July 24, 2012
     (549) ILC EXPORTACIONES, S. DE R.L. DE C.V.                     (590) Individual Removed On July 24, 2012
     (550) Entity Removed On January 30, 2013                        (591) MOLINA CUBILLOS, Alba Judith
     (551) Entity Removed On May 24, 2012                            (592) GUTIERREZ MOLINA, Diego Armando
     (552) Entity Removed On September 30, 2014                      (593) GUTIERREZ HERNANDEZ, Javier Mauricio
     (553) Entity Removed On October 21, 2014                        (594) JEREZ PINEDA, Oscar Alberto
     (554) Entity Removed On December 19, 2012                       (595) AYALA BARRERA, Rubi Yiceth
     (555) Entity Removed On December 19, 2012                       (596) AGUILAR DUARTE, Jose Lenoir
                                                                     (597) CARDENAS DUARTE, Norma Constanza
On December 15, 2009, OFAC identified the following 3 foreign        (598) Individual Removed On December 12, 2012
individuals and 4 foreign entities as derivative designations of a   (599) MARTINEZ ARANGO, Oscar Richard
significant narcotics trafficker named under the Kingpin Act.        (600) SANCHEZ SILVA, Elkin Alexis
Sinaloa Cartel Chart, Press
                                                                     (601) ULLOA ESPITIA, Hubel
          Individuals:
     (556) CONTRERAS NOVOA, Hector                                        Entities:
                                                                     (602) Entity Removed On August 27, 2015
     (557) REYES GARZA, Agustin
                                                                     (603) AGROGANADERA LA FORTALEZA
     (558) Individual Removed On August 29, 2012
                                                                     (604) AGUILAR AGUILAR Y CIA. LTDA.
                                                                     (605) AGUILAR ALVAREZ Y CIA. LTDA.
          Entities:
                                                                     (606) BINGO INTERNACIONAL E.U.
     (559) Entity Removed On August 29, 2012
                                                                     (607) BLUE-STAR SECCION HOSTELERIA S.L.
     (560) Entity Removed On August 29, 2012
                                                                     (608) CARDENAS DUARTE Y CIA. LTDA.
     (561) ESTETIC CARR DE OCCIDENTE, S.A. DE C.V.
                                                                     (609) CIA. COMERCIALIZADORA DE MOTOCICLETAS
     (562) ESTETICA CAR WASH S.A. DE C.V.
                                                                            Y REPUESTOS S.A.
                                                                     (610) Entity Removed On July 24, 2012
On February 25, 2010, OFAC identified the following 7 foreign
                                                                     (611) COMERCIALIZADORA DE CARNES
individuals and 1 foreign entity as derivative designations of a
                                                                            CONTINENTAL MGCI LTDA.
significant narcotics trafficker named under the Kingpin Act. La
Familia Michoacana Chart, Press                                      (612) COMERCIALIZADORA E INVERSIONES BUSTOS
                                                                            ARIZA Y CIA. S.C.S.
          Individuals:                                               (613) Entity Removed On July 24, 2012
     (563) MENDEZ VARGAS, Jose de Jesus                              (614) Entity Removed On July 24, 2012
     (564) MORENO GONZALEZ, Nazario                                  (615) DEWBELLE CENTRO DE ESTETICA Y BELLEZA
     (565) LOYA PLANCARTE, Dionicio                                         LTDA.
     (566) GOMEZ MARTINEZ, Servando                                  (616) Entity Removed On July 24, 2012
     (567) PLANCARTE SOLIS, Enrique                                  (617) DISTRIBUIDORA BABY PANALES
     (568) RUEDA MEDINA, Jose Arnoldo                                (618) DOLL EXPORT LTDA.
     (569) BARRERA MEDRANO, Nicandro                                 (619) EMPRESA DE EMPLEOS TEMPORALES LA
                                                                            UNICA LTDA.
                                                                     (620) EJERCITO REVOLUCIONARIO POPULAR
          Entity:
                                                                            ANTITERRORISTA DE COLOMBIA
     (570) TRANSPORTADORA PUREPECHA S.A. DE C.V.
                                                                     (621) ESTACION DE SERVICIO LA FLORESTA DE
                                                                            FUENTE DE ORO
On March 2, 2010, OFAC identified the following 2 foreign
                                                                     (622) ESTACION DE SERVICIO LA TURQUESA
individuals as significant foreign narcotics traffickers and 29
foreign individuals and 47 foreign entities as derivative            (623) ESTACION DE SERVICIO SERVIAGRICOLA DEL
designations of a significant narcotics trafficker named under the          ARIARI
Kingpin Act. Barrerra Barrerra & Guerrero Castillo Chart, Press      (624) Entity Removed On December 12, 2012
                                                                     (625) Entity Removed On June 24, 2015
          Individuals:                                               (626) HERJEZ LTDA.
     (571) BARRERA BARRERA, Daniel*                                  (627) Entity Removed On July 24, 2012
     (572) GUERRERO CASTILLO, Pedro Oliveiro*                        (628) INVERSIONES ADAG LTDA.
     (573) BUSTOS SUAREZ, Danilo                                     (629) INVERSIONES AGROINDUSTRIALES DEL
     (574) GUTIERREZ GARAVITO, Armando                                      ORIENTE LTDA.
     (575) Individual Removed On August 27, 2015                     (630) INVERSIONES LAS ACACIAS Y CIA. LTDA.
     (576) OSPINA MURILLO, Wilmer                                    (631) INVERSIONES GANADERAS Y PALMERAS S.A.
     (577) GUTIERREZ, Dolis                                          (632) INVERSIONES GANAGRO LTDA.

                                                                                                                     9


                                                                                             1:16-cv-01730 0306
    Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 310 of 326


     (633) INVERSIONES LOS TUNJOS LTDA.                                   (682) GALARZA CORONADO, Jose Antonio
     (634) INVERSIONES TALADRO LTDA.                                      (683) GERESANO ESCRIBANO, Gonzalo
     (635) JAIME JEREZ V. Y CIA. S.C.S.                                   (684) GONZALEZ CASTRO, Gustavo
     (636) Entity Removed On July 24, 2012                                (685) GONZALEZ DURAN, Jaime
     (637) LA TASAJERA DE FUENTE DE ORO                                   (686) GONZALEZ PIZANA JR., Rogelio
     (638) LOGISTICA Y TRANSPORTE NORVAL LTDA.                            (687) GONZALEZ RODRIGUEZ, Dimas
     (639) MATAMBRE DE LO MEJOR                                           (688) GUERRA RAMIREZ, Rogelio
     (640) MINIMERCADO EL MANANTIAL DEL NEUTA                             (689) HERNANDEZ BARRON, Raul
     (641) MODERNA EXPRESS TRANSPORTE DE CARGA                            (690) HERNANDEZ LECHUGA, Lucio
            LTDA.                                                         (691) IBARRA YEPIS, Prisciliano
     (642) PALMERAS SANTA BARBARA                                         (692) LECHUGA LICONA, Alfonso
     (643) Entity Removed On July 24, 2012                                (693) LOPEZ TREJO, Fernando
     (644) Entity Removed On June 24, 2015                                (694) LORMENDEZ PITALUA, Omar
     (645) RECIFIBRAS SECUNDARIAS LTDA.                                   (695) MATEO LAUREANO, Ignacio
     (646) Entity Removed On July 24, 2012                                (696) MEDINA ROJAS, Eleazar
     (647) VITAL SILUET CENTRO DE ESTETICA                                (697) MEJIA GONZALEZ, Juan Reyes
     (648) WISMOTOS FUENTE DE ORO                                         (698) MELLADO CRUZ, Galdino
                                                                          (699) MENDEZ SANTIAGO, Flavio
On March 18, 2010, OFAC identified the following 15 foreign               (700) MENDOZA CONTRERAS, Cipriano
individuals and 8 foreign entities as derivative designations of a        (701) MONTES SERMENO, Juan Gabriel
significant narcotics trafficker named under the Kingpin Act.
                                                                          (702) MURO GONZALEZ, Proceso Arturo
Daniel Rendon Herrera Chart, Press
                                                                          (703) NAJERA TALAMANTES, Sigifredo
          Individuals:                                                    (704) ORTEGA GALICIA, Ismael Marino
     (649) RENDON HERRERA, Freddy Enrique                                 (705) PENA MENDOZA, Sergio
     (650) USUGA DAVID, Juan de Dios                                      (706) PEREZ MANCILLA, Alejandro
     (651) USUGA DAVID, Dairo Antonio                                     (707) PEREZ ROJAS, Daniel
     (652) OCAMPO MORALES, Jorge Eliecer                                  (708) RAMIREZ TREVINO, Mario
     (653) Individual Removed On January 27, 2015                         (709) RANGEL BUENDIA, Alfredo
     (654) OCHOA GUISAO, Walter                                           (710) REJON AGUILAR, Jesus Enrique
     (655) NEGRETE LUNA, Jose Maria                                       (711) REYES ENRIQUEZ, Luis
     (656) VARGAS GUTIERREZ, Roberto                                      (712) ROMO LOPEZ, Martin
     (657) MEJIA VALENCIA, Gonzalo Alberto                                (713) ROSALES MENDOZA, Carlos Alberto
     (658) SANCHEZ GONZALEZ, Arnulfo                                      (714) RUIZ TLAPANCO, Sergio Enrique
     (659) MANCO TORRES, Jhon Freddy                                      (715) SANCHEZ ESTEBAN, Alvaro
     (660) TORRES MARTINEZ, Camilo                                        (716) SAUCEDA GAMBOA, Gregorio
     (661) Individual Removed On May 17, 2012                             (717) SOTO PARRA, Miguel Angel
     (662) NINO CARDENAS, Julio Cesar                                     (718) TORRES SOSA, Benjamin
     (663) SALAZAR CARDENAS, Carlos Mario                                 (719) TREVINO MORALES, Omar
                                                                          (720) VALENZUELA ZUNIGA, Ruben Alejandro
          Entities:                                                       (721) VARGAS GARCIA, Nabor
     (664) VIGILAR COLOMBIA LTDA.                                         (722) VASQUEZ MIRELES, Victor Manuel
     (665) RENTA CAMPEROS URABA LTDA.                                     (723) VELASQUEZ CABALLERO, Ivan
     (666) Entity Removed On January 27, 2015                             (724) VELASQUEZ CABALLERO, Juan Daniel
     (667) Entity Removed On January 27, 2015                             (725) VERA CALVA, Carlos
     (668) MI CARRO E.U.
                                                                     On April 8, 2010, OFAC identified the following 2 foreign
     (669) REPUESTOS EL NATO Y CIA LTDA.
                                                                     individuals as significant foreign narcotics traffickers under the
     (670) CENTRO DE DIAGNOSTICO AUTOMOTRIZ EJE                      Kingpin Act. Press
            BANANERO S.A.
     (671) AGROPECUARIA HATO SANTA MARIA LTDA.                            (726) CAMARA, Ibraima Papa *
                                                                          (727) NA TCHUTO, Jose Americo Bubo *
On March 24, 2010, OFAC identified the following 54 foreign
individuals as derivative designations of a significant narcotics    On April 27, 2010, OFAC identified the following foreign
trafficker named under the Kingpin Act. Perpetrators of Mexican
                                                                     individual as a significant foreign narcotics trafficker and 3 foreign
Drug Trafficking Violence Chart, Press                               individuals as derivative designations of a significant narcotics
                                                                     trafficker named under Kingpin Act. Lorenzana Chart, Press
     (672) ACOSTA IBARRA, Ruben
     (673) BARRAGAN BALDERAS, Gilberto                                    (728) LORENZANA LIMA, Waldemar *
     (674) CANO FLORES, Aurelio                                           (729) LORENZANA CORDON, Waldemar
     (675) CARBAJAL REYES, Ramon Ulises                                   (730) LORENZANA CORDON, Haroldo Geremias
     (676) CASTREJON PENA, Victor Nazario                                 (731) LORENZANA CORDON, Eliu Elixander
     (677) DAVILA LOPEZ, Jose Ramon
     (678) DIAZ LOPEZ, Mateo                                         On May 6, 2010, OFAC identified the following 2 foreign
     (679) ESTRADA GONZALEZ, Eduardo                                 individuals as significant foreign narcotics traffickers and 17
     (680) FLORES BORREGO, Samuel                                    foreign individuals and 12 foreign entities as derivative
     (681) FLORES SOTO, Mario

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                                                                                                         1:16-cv-01730 0307
    Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 311 of 326


designations of significant narcotics traffickers named under the
Kingpin Act. Colombian Money Laundering Networks Chart, Press                      Individuals:
                                                                              (770) SOLARTE CERON, Olidem Romel
          Individuals:                                                        (771) OSTAIZA AMAY, Jefferson Omar
     (732) JIMENEZ URREGO, Maria Mercedes *                                   (772) OSTAIZA AMAY, Edison Ariolfo
     (733) JIMENEZ URREGO, Jorge Enrique *                                    (773) OSTAIZA AMAY, Miguel Angel
     (734) JIMENEZ URREGO, Blanca Virginia                                    (774) MONTENEGRO VALLEJOS, Gilma
     (735) JIMENEZ URREGO, Carmen Rosa
     (736) Individual Removed On November 19, 2015                                 Entities:
     (737) RINCON MOLINA, Jose Manuel                                         (775) MULTINACIONAL INTEGRAL PRODUCTIVA
     (738) PEREZ CORDOBA, Jose Maria                                                 JOOAMY EMA
     (739) QUIMBAYO CABEZAS, Elsa                                             (776) AGROPECUARIA SAN CAYETANO DE COSTA
     (740) CASTILLO RODRIGUEZ, Flor Nelsy                                            RICA LTDA
     (741) BALLEN SOLANO, German                                              (777) ARROCERA EL GAUCHO S.A.
     (742) GUTIERREZ LARA, Mario Alejandro
     (743) GUTIERREZ LARA, Liliana Paola                                 On July 22, 2010, OFAC identified the following 2 foreign entities
     (744) JIMENEZ URREGO, Luz Marina                                    as derivative designations of a significant narcotics trafficker
     (745) BALLEN SOLANO, Manuel Humberto                                named under the Kingpin Act. Zambada Chart, Press
     (746) RAMIREZ BONILLA, Gloria Ines
     (747) Individual Removed On February 19, 2014                            (778) ARTE Y DISENO DE CULIACAN S.A. DE C.V.
     (748) CAMACHO RINCON, Juan Manuel                                        (779) AUTOTRANSPORTES JYM S.A. DE C.V.
     (749) Individual Removed On April 30, 2013
                                                                         On October 13, 2010, OFAC identified the following 17 foreign
     (750) Individual Removed On April 30, 2013
                                                                         individuals and 12 foreign entities as derivative designations of a
                                                                         significant narcotics trafficker named under the Kingpin Act.
          Entities:                                                      Sinaloa Cartel Chart, Press
     (751) NEGOCIAMOS MCM LTDA
     (752) FIMESA DE COLOMBIA S.A.                                                 Individuals:
     (753) C.I. STONES AND BYPRODUCTS TRADING S.A.                            (780) AMAYA ALEMAN, Onecimo Antonio
     (754) PROMOTORA DE MATERIAS PRIMAS                                       (781) COBO LEDESMA, Juan Carlos
            ORGANICAS DEL TOLIMA LTDA                                         (782) DUARTE TORRES, Rafael
     (755) C.I. AGROINDUSTRIAL DE MATERIAS PRIMAS                             (783) FLORES CACHO, Alejandro
            ORGANICAS LTDA                                                    (784) FLORES CACHO, Javier
     (756) MERCADO DE VALORES INTEGRADOS LTDA                                 (785) GARCIA SANCHEZ, Ricardo
     (757) JUAN SEBASTIAN Y CAMILA ANDREA JIMENEZ                             (786) GONZALEZ MEDINA, Jaime Andres
            RAMIREZ Y CIA S.C.S.                                              (787) JASSO ROCHA, Oscar Arturo
     (758) LULU COM                                                           (788) MASSA CAMACHO, Eduardo
     (759) Entity Removed On February 19, 2014                                (789) OLVERA ESTRADA, Arturo
     (760) COMUNICACIONES ELYON                                               (790) OLVERA ESTRADA, Rodolfo
     (761) Entity Removed On April 30, 2013                                   (791) RODARTE GRIJALVA, Jose Luis
     (762) INVERSIONES GRANDA RESTREPO Y CIA S.C.S.                           (792) Individual Removed On December 23, 2014
                                                                              (793) TORO DIAZ, Diana Lorena
On June 1, 2010, OFAC identified the following 3 foreign entities
                                                                              (794) TORRES GOMEZ, Enrique
as derivative designations of a significant narcotics trafficker
                                                                              (795) URREA LENIS, Jair Fernando
named under the Kingpin Act. Press
                                                                              (796) WIDOBLO HERNANDEZ, Jose
     (763) GRUPO MBS - KAYUM CENTRE
     (764) GRUPO MBS LIMITADA                                                      Entities:
     (765) MAPUTO SHOPPING CENTRE                                             (797) AERO EXPRESS INTERCONTINENTAL S.A. DE
                                                                                     C.V.
On June 9, 2010, OFAC identified the following 2 foreign                      (798) CAPACITACION AERONAUTICA PROFESIONAL
individuals and 2 foreign entities as derivative designations of a                   S.C.
significant narcotics trafficker named under the Kingpin Act.                 (799) CIRCUITO ELECTRONICO S.A. DE C.V.
Wenceslao Alvarez Chart, Press                                                (800) CLUB DEPORTIVO OJOS NEGROS A.C.
                                                                              (801) COMERCIALIZADORA GONRA
          Individuals:                                                        (802) COPY RED S.A. DE C.V.
     (766) ALVAREZ ALVAREZ, Wenceslao                                         (803) GENETICA GANADERA RANCHO ALEJANDRA
     (767) MEJIA GUTIERREZ, Ignacio                                                  S.P.R. DE R. L. DE C.V.
                                                                              (804) GENETICA IMPORT-EXPORT S.P.R. DE R.L. DE
          Entities:                                                                  C.V.
     (768) IMPORTACIONES Y EXPORTACIONES NOBARO                               (805) GRUPO CRISTAL CORONA S.A. DE C.V.
            S.A. DE C.V.                                                      (806) GRUPO HORTA ZAVALA S.A. DE C.V.
     (769) MEGA EMPACADORA DE FRUTAS S.A. DE C.V.                             (807) Entity Removed On June 29, 2012
                                                                              (808) MANTENIMIENTO, AERONAUTICA,
On June 17, 2010, OFAC identified 5 foreign individuals and 3                        TRANSPORTE, Y SERVICIOS AEREOS S.A. DE
foreign entities as derivative designations of a significant narcotics               C.V.
trafficker named under the Kingpin Act. FARC 48th Front Chart,
Press

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                                                                                                            1:16-cv-01730 0308
    Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 312 of 326


On October 19, 2010, OFAC identified the following foreign                 (854) Entity Removed On July 24, 2012
individual as a derivative designation of a significant narcotics
trafficker named under the Kingpin Act. OFAC also identified the 2    On January 26, 2011, OFAC identified the following foreign
entities below as blocked under the Kingpin Act. Press                individual and foreign entity as significant foreign narcotics
                                                                      traffickers and 9 foreign individuals and 20 foreign entities as
          Individual:                                                 derivative designations of significant narcotics traffickers named
     (809) VALENCIA COSSIO, Guillermo Leon                            under the Kingpin Act. Joumaa Chart, Press

          Blockings:                                                            Individuals:
         • LA HACIENDA, LLC                                                (855) JOUMAA, Ayman Saied*
         • RUNNING BROOK, LLC                                              (856) JOUMAA, Akram Saied
                                                                           (857) JOUMAA, Anwar Saied
On December 14, 2010, OFAC identified the following 20 foreign             (858) JOUMAA, Mohamad Said
individuals and 25 foreign entities as derivative designations of a        (859) YOUSSEF, Ismael Mohammed
significant narcotics trafficker named under the Kingpin Act.              (860) YOUSSEF, Ziad Mohamad
Barrera Barrera & Guerrero Castillo Chart, Press                           (861) AYASH, Hassan
                                                                           (862) AYACHE, Hassan Mahmoud
            Individuals:                                                   (863) KHAROUBI, Jamal Mohamad
     (810) DORIA CASTILLO, Danit Dario                                     (864) KHARROUBI, Ali Mohamed
     (811) SANCHEZ REY, German Gonzalo
     (812) SERRALDE PLAZA, Carlos Fernando                                      Entities:
     (813) ZARATE MORENO, Rutdy Alirio                                     (865) JOUMAA MONEY LAUNDERING
     (814) Individual Removed On July 24, 2012                                    ORGANIZATION / DRUG TRAFFICKING
     (815) Individual Removed On October 21, 2014                                 ORGANIZATION *
     (816) Individual Removed On September 30, 2014                        (866) HASSAN AYASH EXCHANGE COMPANY
     (817) GALINDO MARTINEZ, Fernando Alberto                              (867) ELLISSA EXCHANGE COMPANY
     (818) Individual Removed On November 12, 2014                         (868) PHENICIA SHIPPING OFFSHORE SARL
     (819) HERRENO BARRERA, Alejandro                                      (869) NEW LINE EXCHANGE TRUST CO.
     (820) Individual Removed On September 30, 2014                        (870) CAESAR'S PARK HOTEL
     (821) Individual Removed On August 29, 2012                           (871) GOLDI ELECTRONICS S.A.
     (822) MOLANO TORRES, Deysi Yamile                                     (872) ZONA LIBRE INTERNATIONAL MARKET S.A.
     (823) Individual Removed On June 24, 2015                             (873) ELLISSA HOLDING
     (824) Individual Removed On August 27, 2015                           (874) SOLMAR
     (825) Individual Removed On September 26, 2013                        (875) ELLISSA GROUP SA
     (826) Individual Removed On October 10, 2012                          (876) AGROPHEN
     (827) Individual Removed On August 27, 2015                           (877) ELLISSA SHIPPING
     (828) Individual Removed On August 27, 2015                           (878) YAMEN BENIN SARL
     (829) Individual Removed On September 26, 2013                        (879) ELLISSA PARC COTONOU
                                                                           (880) ELLISSA MEGASTORE
            Entities:                                                      (881) ALMACEN JUNIOR
     (830) 7 KARNES                                                        (882) ALMACEN JUNIOR NO. 2
     (831) Entity Removed On September 30, 2014                            (883) COMERCIAL PLANETA
     (832) Entity Removed On October 10, 2012                              (884) SOCIETE ELLISSA GROUP CONGO
     (833) Entity Removed On September 26, 2013
     (834) AMG RICAS PIZZA                                            On February 1, 2011, OFAC identified the following 2 foreign
     (835) Entity Removed On September 26, 2013                       individuals and 1 foreign entity as significant foreign narcotics
     (836) CIA. AGROINDUSTRIAL PALMERA S.A.                           traffickers and 2 foreign individuals as derivative designations of
                                                                      significant narcotics traffickers named under the Kingpin Act. Los
     (837) Entity Removed On June 24, 2015
                                                                      Gueros Chart, Press
     (838) Entity Removed On June 24, 2015
     (839) Entity Removed On June 24, 2015                                      Individuals:
     (840) Entity Removed On November 12, 2014                             (885) RODRIGUEZ OLIVERA, Luis*
     (841) Entity Removed On November 12, 2014                             (886) RODRIGUEZ OLIVERA, Esteban*
     (842) Entity Removed On September 26, 2013                            (887) RODRIGUEZ OLIVERA, Daniel
     (843) IMPORTACIONES Y EXPORTACIONES ZAFIRO                            (888) RODRIGUEZ OLIVERA, Miguel
            S.L.
     (844) Entity Removed On June 24, 2015                                      Entity:
     (845) INVERSIONES MINERAS H.D. EMPRESA                                (889) LOS GUEROS*
            UNIPERSONAL
     (846) Entity Removed On June 24, 2015                            On February 18, 2011, OFAC identified the following foreign
     (847) Entity Removed On June 24, 2015                            entity as a significant foreign narcotics trafficker and 9 foreign
     (848) MELRUX RICA S PIZZA                                        individuals and 6 foreign entities as derivative designations of
     (849) MOJETE PARRILLA                                            significant narcotics traffickers named under the Kingpin Act. New
     (850) OBRAS, SERVICIOS Y MANTENIMIENTOS C.A.                     Ansari Network Chart, Press
     (851) Entity Removed On October 10, 2012
     (852) Entity Removed On August 27, 2015                                    Individuals:
     (853) Entity Removed On August 27, 2015                               (890) AZIMI, Haji Mohammad Rafi

                                                                                                                                       12


                                                                                                         1:16-cv-01730 0309
    Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 313 of 326


     (891) BARAKZAI ANSARI, Haji Abdullah                                (939) C.I. METALURGIA EXTRACTIVA DE COLOMBIA
     (892) HAJI ABDUL QAYOUM, Eissa Jan                                         S.A.S.
     (893) HAKIMI, Ahmad Shah                                            (940) C.I. OKCOFFEE COLOMBIA S.A.
     (894) JAN, Haji Mohammad                                            (941) C.I. OKCOFFEE INTERNATIONAL S.A.
     (895) KHAN, Haji Mohammad                                           (942) CIFUENTES URIBE Y CIA. S.C.S.
     (896) MOHAMMAD AFZAL, Rahmatullah                                   (943) CROCKER JEANS CORP. S.A.
     (897) NOOR, Haji Mohammad                                           (944) CROCKER JEANS STATION CORPORATION
     (898) NOORULLAH, Haji                                               (945) CROSS WINDS, S.A.
                                                                         (946) CUBI CAFE CLICK CUBE MEXICO
          Entities:                                                      (947) CUBICAFE S.A.
     (899) AHMAD SHAH MONEY EXCHANGE                                     (948) DESARROLLO MINERO RESPONSABLE C.I.
     (900) AL ADAL EXCHANGE                                                     S.A.S.
     (901) CONNECT TELECOM GENERAL TRADING LLC                           (949) DOLPHIN DIVE SCHOOL S.A.
     (902) GREEN LEAF GENERAL TRADING LLC                                (950) ECOVIVERO EL MATORRAL E.U.
     (903) MUSHTAQ SHAHEEN CONSTRUCTION AND                              (951) FEDERAL CAPITAL GROUP, S.A.
            ROADMAKING COMPANY                                           (952) FOX FASHION, S.A.
     (904) NEW ANSARI LTD                                                (953) FUNDACION OKCOFFEE COLOMBIA
     (905) NEW ANSARI MONEY EXCHANGE*                                    (954) FUNDACION PARA EL BIENESTAR Y EL
                                                                                PORVENIR
On February 23, 2011, OFAC identified the following foreign              (955) FUNDACION SALVA LA SELVA
individual as a significant foreign narcotics trafficker and 29          (956) GANADERIA LA SORGUITA S.A.
foreign individuals and 44 foreign entities as derivative                (957) GESTORES DEL ECUADOR GESTORUM S.A.
designations of significant narcotics traffickers named under the        (958) HOTELES Y BIENES S.A.
Kingpin Act. OFAC also identified the 1 entity below as blocked          (959) IGA LTDA.
under the Kingpin Act. Press
                                                                         (960) Entity Removed On July 30, 2013
                                                                         (961) INVERPUNTO DEL VALLE S.A.
Cifuentes Villa Chart - Individuals
           Individuals:                                                  (962) INVERSIONES CIFUENTES Y CIA. S. EN C.
     (906) ALVAREZ ZEPEDA, Alfredo                                       (963) LE CLAUDE, S.A. DE C.V.
     (907) BASTO DELGADO, Irma Mery                                      (964) LINEA AEREA PUEBLOS AMAZONICOS S.A.S.
     (908) CIFUENTES OSORIO, Jorge Andres                                (965) LINEAS AEREAS ANDINAS LINCANDISA S.A.
     (909) CIFUENTES VILLA, Dolly de Jesus                               (966) Entity Removed On July 30, 2013
     (910) CIFUENTES VILLA, Hector Mario                                 (967) Entity Removed On July 30, 2013
     (911) CIFUENTES VILLA, Hildebrando Alexander                        (968) Entity Removed On July 30, 2013
     (912) CIFUENTES VILLA, Jorge Milton *                               (969) Entity Removed On July 30, 2013
     (913) CIFUENTES VILLA, Lucia Ines                                   (970) Entity Removed On May 14, 2014
     (914) CIFUENTES VILLA, Teresa de Jesus                              (971) OBRAS Y PROYECTOS PIQUEHERVA S.L.
     (915) FLOREZ SEPULVEDA, Marco Tulio                                 (972) OPERADORA NUEVA GRANADA, S.A. DE C.V.
     (916) GALLEGO MARIN, Fabian Rodrigo                                 (973) PARQUES TEMATICOS S.A.
     (917) GOMEZ ORTIZ, David                                            (974) PROMO RAIZ S.A.
     (918) GOMEZ PIQUERAS, Jose Luis                                     (975) RED MUNDIAL INMOBILIARIA
     (919) Individual Removed On December 12, 2012                       (976) ROBLE DE MINAS S.A.
     (920) GONZALEZ JARAMILLO, Juan Fernando                             (977) RUTA 33 MOTOCICLETAS Y ACCESORIOS
                                                                                LTDA.
     (921) Individual Removed On July 30, 2013
                                                                         (978) TRANSPORTADORA Y COMERCIALIZADORA
     (922) LOPEZ MEJIA, Claudia Estela
                                                                                SYSTOLE S.A.S.
     (923) Individual Removed On December 12, 2012
                                                                         (979) UNION DE CONSTRUCTORES CONUSA S.A.
     (924) Individual Removed On October 15, 2015
     (925) NICHOLLS EASTMAN, Winston
                                                                               Blocking:
     (926) Individual Removed On October 15, 2015
                                                                              • Entity Removed On July 30, 2013
     (927) Individual Removed On May 14, 2014
     (928) RESTREPO ZAPATA, Milvia Yaneth                           On April 20, 2011, OFAC identified the following 5 foreign
     (929) Individual Removed On June 29, 2012                      individuals as derivative designations of significant narcotics
     (930) ROLL CIFUENTES, Jaime Alberto                            traffickers named under the Kingpin Act. Press
     (931) Individual Removed On September 30, 2014
     (932) VARGAS CIFUENTES, Edmon Felipe                                (980) BAYIK, Cemil
     (933) VARGAS CIFUENTES, Paula Andrea                                (981) KALKAN, Duran
     (934) VILLA DE CIFUENTES, Carlina                                   (982) KARTAL, Remzi
     (935) YELINEK, Shimon Yalin                                         (983) OK, Sabri
                                                                         (984) UZUN, Adem
Cifuentes Villa Chart - Entities
           Entities:                                                On April 28, 2011, OFAC identified the following foreign
     (936) BIO FORESTAL S.A.                                        individual as a significant foreign narcotics trafficker and 2 foreign
     (937) C.I. DISTRIBUIDORA DE SERVICIOS                          individuals and 3 foreign entities as derivative designations of
            COMBUSTIBLES Y MINERIA S.A.                             significant narcotics traffickers named under the Kingpin Act.
     (938) C.I. GLOBAL INVESTMENTS S.A.                             OFAC also identified the 4 entities below as blocked under the
                                                                    Kingpin Act.


                                                                                                                                       13


                                                                                                        1:16-cv-01730 0310
    Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 314 of 326


Shayesteh Press                                                          (1008) AS INVERSIONES S.A.
          Individuals:                                                   (1009) C.I. PLANETA COMERCIAL S.A.
     (985) SHAYESTEH, Bahram Ali *                                       (1010) CBM DE COLOMBIA S.A.
     (986) Individual Removed On August 20, 2014                         (1011) COMERCIALIZADORA EMPRESARIAL TEAM
                                                                                 BUSINESS S.A.
          Entity:                                                        (1012) GENETICA DEL SUR S.A.
     (987) INTERCONTINENTAL BAUMASCHINEN UND                             (1013) GRUPO MUNDO MARINO, S.A.
            NUTZFAHRZEUGE HANDELS GMBH                                   (1014) INTERNATIONAL GROUP OIRALIH, S.A. DE
                                                                                 C.V.
                                                                         (1015) NEGOCIOS INTERNACIONALES DEL ECUADOR
Sinaloa Cartel Chart
                                                                                 NIDEGROUP S.A.
          Individual:
                                                                         (1016) PRODUCTOS KIBONY S.A.S.
     (988) LLANOS GAZIA, Jorge Luis
                                                                         (1017) R D I S.A.
                                                                         (1018) Entity Removed On March 28, 2013
          Entities:
                                                                         (1019) T & T ANDINA S.A.
     (989) AUDIO ALARMAS, S.A. DE C.V.
     (990) BASALTOS TONALA, S.A. DE C.V.                            On October 27, 2011, OFAC identified the 3 foreign individuals
                                                                    and 2 foreign entities as derivative designations of significant
Blockings under Fernando Zevallos                                   narcotics traffickers named under the Kingpin Act. Avendano
          Blockings:                                                Ojeda Network Chart, Press
         • IAC INTERNATIONAL INC.
         • AERO CONTINENTE INC.                                               Individuals:
         • CARGO AIRCRAFT LEASING CORP.                                  (1020) AVENDANO OJEDA, Hector Manuel
         • INTERNATIONAL PACIFIC TRADING, INC.                           (1021) AVENDANO OJEDA, Martin Guadencio
                                                                         (1022) AVENDANO OJEDA, Sergio
On September 8, 2011, OFAC identified the following 4 foreign
individuals as derivative designations of significant narcotics               Entities:
traffickers named under the Kingpin Act. Venezuelan Officials            (1023) AUTODROMO CULIACAN RACE PARK
Acting on Behalf of the FARC Chart, Press                                (1024) AUTOS MINI

     (991) ALCALA CORDONES, Cliver Antonio                          On December 29, 2011, OFAC identified the following 2 foreign
     (992) BERNAL ROSALES, Freddy Alirio                            individuals as significant foreign narcotics traffickers and 9 foreign
     (993) FIGUEROA SALAZAR, Amilcar Jesus                          individuals and 28 foreign entities as derivative designations of
     (994) MADRIZ MORENO, Ramon Isidro                              significant narcotics traffickers named under the Kingpin Act.
                                                                    Cheaitelly & El Khansa Network Chart, Press
On September 15, 2011, OFAC identified the following 4 foreign
individuals and 5 foreign entities as derivative designations of              Individuals:
significant narcotics traffickers named under the Kingpin Act.           (1025) ARBELAEZ VELEZ, Ivan Dario
Chart, Press                                                             (1026) CHEAITELLI SAHELI, Guiseppe Ali
                                                                         (1027) EDERY CRIVOSEI, Jaime
          Individuals:                                                   (1028) EL KHANSA, Ahmad*
     (995) BELLOSO RODRIGUEZ, Daniel                                     (1029) EL KHANSA, Mohamad Zouheir
     (996) BELLOSO RODRIGUEZ, Miguel Angel                               (1030) FADLALLAH CHEAITELLY, Jorge*
     (997) GALAVIZ MARTIN, Mayra                                         (1031) FADLALLAH CHEAYTELLI, Jaime
     (998) VASQUEZ HERNANDEZ, Alfredo                                    (1032) FADLALLATH CHEAITILLY, Fatima
                                                                         (1033) ISSA FAWAZ, Benny
          Entities:                                                      (1034) RAHALL, Fawaz Mohamad
     (999) FLORBEL OPERADORA DE RESTAURANTES,                            (1035) SALEH, Ali Mohamad
             S.A. DE C.V.
     (1000) JR CONTROLADORA DE RESTAURANTES, S.A.                             Entities:
             DE C.V.                                                     (1036) AGROPECUARIA LA PERLA LTDA.
     (1001) LORENA DEL MAR, S.A. DE C.V.                                 (1037) ALMACEN BATUL
     (1002) LUZAAIR, S.A. DE C.V.                                        (1038) ALMACEN ELECTRO SONY STAR
     (1003) TATES DESARROLLO, S.A. DE C.V.                               (1039) BODEGA ELECTRO GIORGIO
                                                                         (1040) CAFE DU LIBAN, S.A.
On September 21, 2011, OFAC identified the following 4 foreign           (1041) COMERCIAL ESTILO Y MODA
individuals and 12 foreign entities as derivative designations of
                                                                         (1042) COMERCIAL GLOBANTY
significant narcotics traffickers named under the Kingpin Act.
Cifuentes Chart                                                          (1043) EURO EXCHANGE Y FINANCIAL COMMERCE,
                                                                                 INC.
          Individuals:                                                   (1044) EUROCAMBIO, S.A.
     (1004) Individual Removed On January 27, 2015                       (1045) FAMILY FEDCO
     (1005) Individual Removed On March 28, 2013                         (1046) FARBE COMUNICACIONES LTDA
     (1006) MEJIA ZULUAGA, Omar                                          (1047) FEDCO IMPORT & EXPORT, S.A.
     (1007) URIBE CIFUENTES, Ana Maria                                   (1048) GENERAL COMMERCE OVERSEAS, INC.
                                                                         (1049) GIORGINO CORPORATION OF PANAMA, S.A.
           Entities:                                                     (1050) GIORGIO CHEAITELLY INVESTMENT, S.A.
                                                                         (1051) GIORGIOTELLY, S.A.

                                                                                                                                      14


                                                                                                        1:16-cv-01730 0311
    Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 315 of 326


     (1052) GLOBAL TECHNOLOGY IMPORT & EXPORT,                                (1083) ZARKA DE MEXICO S.A. DE C.V.
             S.A. (GTI)                                                       (1084) ZARKA DE OCCIDENTE S.A. DE C.V.
     (1053) III MILLENIUM INTERNATIONAL
     (1054) J.H. EXIM INTERNACIONAL, S.A.                                On March 7, 2012, OFAC identified the following foreign
     (1055) JUNIOR INTERNATIONAL S.A.                                    individual as a derivative designation of a significant narcotics
     (1056) KPD S.A.                                                     trafficker name under the Kingpin Act. Baghbani Chart, Press
     (1057) MICRO EMPRESA ASHQUI
     (1058) OCEAN INDIC OVERSEAS, S.A.                                        (1085) BAGHBANI, Gholamreza
     (1059) POLYTON (ASIA) LIMITED
                                                                         On April 10, 2012, OFAC identified the following foreign
     (1060) PRODUCERS GROUP CORP.
                                                                         individual as a significant foreign narcotics trafficker under the
     (1061) SANTA MARIA INTERNATIONAL TRADING
                                                                         Kingpin Act. Overdick Mejia Chart, Press
             CORP.
     (1062) SILVER HOUSE, INC.
                                                                              (1086) OVERDICK MEJIA, Horst Walter*
     (1063) ZEDRO INVESTMENT, S.A.
                                                                         On April 12, 2012, OFAC identified the following 2 foreign
On January 10, 2012, OFAC identified the following 3 foreign             individuals as significant foreign narcotics traffickers and 16
individuals as derivative designations of significant narcotics          foreign entities as derivative designations of a significant narcotics
traffickers named under the Kingpin Act. Cifuentes Villa Chart,          trafficker named under the Kingpin Act. Major Precursor Chemical
Press                                                                    Chart, Press

     (1064) ALVAREZ ZEPEDA, Oscar                                                  Individuals:
     (1065) TORRES HOYOS, Carlos Mario                                        (1087) FIGUEROA GOMEZ, Hassein Eduardo*
     (1066) VALDEZ BENITES, Joel                                              (1088) FIGUEROA VASQUEZ, Ezio Benjamin*

On January 19, 2012, OFAC identified the following foreign                         Entities:
individual as a significant foreign narcotics trafficker and 3 foreign
                                                                              (1089) DESARROLLO ARQUITECTONICO FORTIA, S.A.
individuals and 4 foreign entities as derivative designations of
                                                                                      DE C.V.
significant narcotics traffickers named under the Kingpin Act.
                                                                              (1090) DESARROLLOS INMOBILIARIOS CITADEL, S.A.
Chacon Rossell Chart, Press
                                                                                      DE C.V.
          Individuals:                                                        (1091) DESARROLLOS TURISTICOS FORTIA, S.A. DE
                                                                                      C.V.
     (1067) BORRAYO LASMIBAT, Hayron Eduardo
     (1068) CHACON ROSSELL, Marllory Dadiana*                                 (1092) DISPOSITIVOS INDUSTRIALES DINAMICOS,
                                                                                      S.A. DE C.V.
     (1069) Individual Removed On December 23, 2014
                                                                              (1093) DISTRIBUIDORA LIFE, S.A.
     (1070) Individual Removed On April 24, 2014
                                                                              (1094) DISTRIBUIDORA MEDICA HOSPITALARIA, S.A.
                                                                                      DE C.V.
          Entities:
                                                                              (1095) EL PALOMAR CAR WASH, S.A. DE C.V.
     (1071) ANDREA YARI S.A.
                                                                              (1096) FORTIA BAJA SUR, S.A. DE C.V.
     (1072) BINGOTON MILLONARIO
                                                                              (1097) GEOFARMA S.A. DE C.V.
     (1073) FER’SEG S.A.
                                                                              (1098) GRUPO COMERCIAL SAN BLAS, S.A. DE C.V.
     (1074) REVOLUCIONES POR MINUTO ACELERACION
                                                                              (1099) GRUPO F Y F MEDICAL INTERNACIONAL DE
             S.A.
                                                                                      EQUIPOS
                                                                              (1100) PROMOCIONES CITADEL, S.A. DE C.V.
On February 1, 2012, OFAC identified the following 4 foreign
individuals and 3 foreign entities as derivative designations of              (1101) PUNTO FARMACEUTICO S.A. DE C.V.
significant narcotics trafficker named under the Kingpin Act. Press           (1102) SCUADRA FORTIA, S.A. DE C.V.
                                                                              (1103) TECNOLOGIA OPTIMA CORPORATIVA S. DE
          Individuals:                                                                R.L. DE C.V.
     (1075) AKBULUT, Cerkez                                                   (1104) UNION ABARROTERO DE JALISCO S.C. DE R.L.
     (1076) BOZTEPE, Omer                                                             DE C.V.
     (1077) GELERI, Omer
     (1078) GELERI, Zeyneddin                                            On May 8, 2012, OFAC identified the following 4 foreign
                                                                         individuals as derivative designations of a significant narcotics
                                                                         trafficker named under the Kingpin Act. El Chapo Key Lieutenants
          Entities:                                                      Chart, Press
     (1079) GELERI IMPORT EXPORT S.R.L.
     (1080) GELRO IMPEX S.R.L.                                                (1105) GUZMAN LOPEZ, Ovidio
     (1081) MEGA GROUP S.R.L.                                                 (1106) GUZMAN SALAZAR, Ivan Archivaldo
                                                                              (1107) LIMON SANCHEZ, Ovidio
On March 6, 2012, OFAC identified the following foreign                       (1108) SALGUEIRO NEVAREZ, Noel
individual and 2 foreign entities as derivative designations of
significant narcotics traffickers named under the Kingpin Act.
                                                                         On May 15, 2012, OFAC identified the following 2 foreign
Zambada Chart
                                                                         individuals as derivative designations of a significant narcotics
                                                                         trafficker named under the Kingpin Act. D-Company Chart, Press
          Individual:
     (1082) ZAMBADA GARCIA, Jesus Reynaldo
                                                                              (1109) MEMON, Ibrahim Abdul Razaaq
                                                                              (1110) SHAKEEL, Chhota
           Entities:


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                                                                                                             1:16-cv-01730 0312
    Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 316 of 326


On June 7, 2012, OFAC identified the following 2 foreign                      (1139) GASODIESEL Y SERVICIOS ANCONA, S.A. DE
individuals as derivative designations of significant narcotics                       C.V.
trafficker named under the Kingpin Act. "Chapo" Guzman Loera                  (1140) GASOLINERA ALAMOS COUNTRY, S.A. DE C.V.
Sinaloa Chart, Press                                                          (1141) GASOLINERA Y SERVICIOS VILLABONITA,
                                                                                      S.A. DE C.V.
     (1111) GUZMAN SALAZAR, Jesus Alfredo                                     (1142) GRUPO CINJAB, S.A. DE C.V.
     (1112) SALAZAR HERNANDEZ, Maria Alejandrina                              (1143) GRUPO IMPERGOZA, S.A. DE C.V.
                                                                              (1144) PETROBARRANCOS, S.A. DE C.V.
On June 12, 2012, OFAC identified the following foreign                       (1145) SERVICIOS CHULAVISTA, S.A. DE C.V.
individual as a derivative designation of a significant narcotics
trafficker name under the Kingpin Act. Los Zetas Chart                   On August 7, 2012, OFAC identified the following foreign
                                                                         individual as a significant foreign narcotics trafficker and 2 foreign
     (1113) COLORADO CESSA, Francisco Antonio                            individuals and 5 foreign entities as derivative designations of a
                                                                         significant narcotics trafficker named under the Kingpin Act.
On June 20, 2012, OFAC identified the following 2 foreign                Zabaneh DTO Chart, Press
individuals as significant foreign narcotics traffickers and 2 foreign
individuals and 2 foreign entities as derivative designations of a                 Individuals:
significant narcotics trafficker named under the Kingpin Act.                 (1146) MORENO, Daniel
Barakzai DTO Chart, Press                                                     (1147) ZABANEH, John*
                                                                              (1148) ZABANEH, Dion
          Individuals:
     (1114) BARAKZAI, Shah Mohammad*
                                                                                   Entities:
     (1115) HADI, Abdul
                                                                              (1149) BELIZE CHEMICALS LIMITED
     (1116) MOHAMMAD, Haji Baz*
                                                                              (1150) CROWN PARADISE ENTERPRISES LTD.
     (1117) WALI, Mohammad
                                                                              (1151) D'S SUPERMARKET COMPANY LTD.
                                                                              (1152) MAYAN KING LIMITED
          Entities:
                                                                              (1153) MID-SOUTH INVESTMENTS LIMITED
     (1118) MOHAMMAD WALI MONEY EXCHANGE
     (1119) NEW AHMADI LTD.
                                                                         On August 15, 2012, OFAC identified the following 2 foreign
                                                                         individuals and 24 foreign entities as derivative designations of a
On June 27, 2012, OFAC identified the following 4 foreign
                                                                         significant narcotics trafficker named under the Kingpin Act.
individuals and 3 foreign entities as derivative designations of a       Chacon Rossell Chart, Press
significant narcotics trafficker named under the Kingpin Act. Harb
Chart, Press
                                                                                   Individuals:
                                                                              (1154) Individual Removed On November 26, 2013
          Individuals:
                                                                              (1155) Individual Removed On April 24, 2014
     (1120) CHIBLI, Ibrahim
     (1121) HARB, Abbas Hussein
                                                                                   Entities:
     (1122) HARB, Ali Houssein
                                                                              (1156) ALMACEN PICIS
     (1123) SALEH, Kassem Mohamad
                                                                              (1157) ALQUILERES ROSSELL
                                                                              (1158) AUTO HOTEL PUNTO CERO
          Entities:
                                                                              (1159) BODEGAS BANYOLAS
     (1124) BODEGA MICHIGAN
                                                                              (1160) BOUTIQUE MARLLORY
     (1125) IMPORTADORA SILVANIA
                                                                              (1161) BRODWAY COMMERCE INC.
     (1126) IMPORTADORA SILVANIA, C.A.
                                                                              (1162) CABOMARZO
On July 24, 2012, OFAC identified the following 10 foreign                    (1163) CASA VOGUE
individuals and 9 foreign entities as derivative designations of a            (1164) CORPORACION DAIMEX S.A.
significant narcotics trafficker named under the Kingpin Act. EMO             (1165) DELPSA
Chart, Press                                                                  (1166) DIGITAL SYS ADVISORS
                                                                              (1167) DISTRIBUIDORA ROSSELL
          Individuals:                                                        (1168) Entity Removed On August 20, 2014
     (1127) ARAUJO MONZON, Elvira                                             (1169) FARFAR
     (1128) ESPARRAGOZA GASTELUM, Brenda Guadalupe                            (1170) FERNAPLAST
     (1129) ESPARRAGOZA GASTELUM, Cristian Ivan                               (1171) GRUPO MPV
     (1130) ESPARRAGOZA GASTELUM, Juan Ignacio                                (1172) HACIENDA SANTA INES
     (1131) ESPARRAGOZA GASTELUM, Nadia Patricia                              (1173) HUERTAS Y HORTALIZAS
     (1132) GASTELUM PAYAN, Maria Guadalupe                                   (1174) IMPORTADORA BORRAYO LASMIBAT
     (1133) GONZALEZ PARADA, Juvencio Ignacio                                 (1175) INMOBILIARIA DATEUS
     (1134) GUZMAN OCHOA, Ulises                                              (1176) INVERSIONES A&E
     (1135) MONZON ARAUJO, Ofelia                                             (1177) Entity Removed On August 20, 2014
     (1136) PONCE FELIX, Martin Humberto                                      (1178) SISTEMAS CONSTRUCTORES
                                                                              (1179) WALNUTHILL
EMO Companies Chart
        Entities:                                                        On August 29, 2012, OFAC identified the following foreign entity
   (1137) BUENOS AIRES SERVICIOS, S.A. DE C.V.                           as a derivative designation of a significant narcotics trafficker name
   (1138) ESTACIONES DE SERVICIOS CANARIAS, S.A.                         under the Kingpin Act. Los Zetas Petroservicios Chart, Press
           DE C.V.

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                                                                                                             1:16-cv-01730 0313
    Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 317 of 326


     (1180) ADT PETROSERVICIOS, S.A. DE C.V.
                                                                                     Individuals:
On September 6, 2012, OFAC identified the following foreign                     (1202) CARDONA MARTINEZ, Mayela
individual as a derivative designation of a significant narcotics               (1203) CARDONA MARTINEZ, Pedro
trafficker named under the Kingpin Act. "Chapo" Guzman Loera                    (1204) IBARRA CARDONA, Carlos Jesus Ivan
Sinaloa Chart, Press                                                            (1205) IBARRA CARDONA, Luis Gerardo
                                                                                (1206) IBARRA FAVILA, Jose Gerardo
     (1181) LOPEZ PEREZ, Griselda Natividad
                                                                                     Entities:
On September 13, 2012, OFAC identified the following foreign
individual as a significant foreign narcotics trafficker and foreign            (1207) COMERCIALIZADORA CACHO S.A. DE C.V.
entity as derivative designations of significant narcotics trafficker           (1208) COMERCIALIZADORA GERMAY DE SONORA
named under the Kingpin Act. Lopez Perdigon Chart                                       S.A. DE.C.V.
                                                                                (1209) DISTRIBUIDORA GERMAY S.A. DE C.V.
          Individual:
     (1182) LOPEZ PERDIGON, Roberto Manuel*                                On December 12, 2012, OFAC identified the following 3 foreign
                                                                           individuals and 1 foreign entity as derivative designations of a
          Entity:                                                          significant narcotics trafficker named under the Kingpin Act: EMO
     (1183) CONSTRUCTORA FR DE VENEZUELA, C.A.                             Chart, Press

On September 25, 2012, OFAC identified the following 5 foreign                       Individuals:
individuals as a derivative designation of a significant narcotics              (1210) ESQUERRA ESQUER, Jorge Enrique
trafficker named under the Kingpin Act. "Chapo" Guzman Loera                    (1211) ESTRADA GUTIERREZ, Julio Cesar
Sinaloa Chart, Press                                                            (1212) LEON SANTIESTEBAN, Carlos Alberto

     (1184) DIAS PANIAGUA, Rigoberto                                                 Entity:
     (1185) FELIX FELIX, Victor Manuel                                          (1213) DESARROLLOS EVEREST, S.A. DE C.V.
     (1186) GONZALEZ CARDENAS, Jorge Guillermo
     (1187) VAZQUEZ VILLAVICENCIO, Gabriela                                On January 9, 2013, OFAC identified the following 2 foreign
     (1188) VILLA DIAZ, Oscar Dominguez                                    individuals as derivative designations of a significant narcotics
                                                                           trafficker named under the Kingpin Act: Sinaloa Operatives Chart,
On October 10, 2012, OFAC identified the following 2 foreign               Press
entities as a derivative designation of significant narcotics trafficker
named under the Kingpin Act. EMO Chart, Press                                   (1214) LOPEZ NUNEZ, Damaso
                                                                                (1215) CORONEL BARRERAS, Ines
     (1189) SOCIALIKA RENTAS Y CATERING, S.A. DE C.V.
     (1190) URBANIZADORA NUEVA ITALIA, S.A. DE C.V.                        On January 17, 2013, OFAC identified the following foreign
                                                                           individual and foreign entity as significant narcotics traffickers and
On November 14, 2012, OFAC identified the following 2 foreign              the following 7 foreign individuals and 3 foreign entities as
individuals and 8 foreign entities as derivative designations of a         derivative designations of a significant narcotics trafficker named
significant narcotics trafficker named under the Kingpin Act:              under the Kingpin Act: Meza Flores Chart, Press
Lorenzana Business Network Chart, Press
                                                                                     Individuals:
          Individuals:                                                          (1216) MEZA FLORES, Fausto Isidro*
     (1191) LORENZANA CORDON, Marta Julia                                       (1217) FLORES APODACA, Augustin
     (1192) LORENZANA CORDON, Ovaldino                                          (1218) FLORES APODACA, Panfilo
                                                                                (1219) MEZA FLORES, Salome
          Entities:                                                             (1220) FLORES APODACA, Angelina
     (1193) ADMINSTRADORA DEL ORIENTE                                           (1221) FLORES APODACA, Panfilo
     (1194) CONSTRUCTORA H.L.P.                                                 (1222) CHAN INZUNA, Araceli
     (1195) CONSTRUCTORA H.L.T.                                                 (1223) MEZA FLORES, Flor Angely
     (1196) CONSTRUCTORA W.L.
     (1197) IMPORTADORA Y EXPORTADORA                                                Entities:
             LORENZANA                                                          (1224) MEZA FLORES DRUG TRAFFICKING
     (1198) INVERSIONES IRIS MANUELA, S.A.                                              ORGANIZATION*
     (1199) LOLALIMES                                                           (1225) AUTO SERVICIO JATZIRY S.A. DE C.V.
     (1200) TRANSPORTES J.L. CORDON                                             (1226) CONSTRUCTORA JATZIRY DE GUASAVE S.A.
                                                                                        DE C.V.
On November 15, 2012, OFAC identified the following foreign                     (1227) AUTOTRANSPORTES TERRESTRES S.A. DE C.V.
individual as a significant narcotics trafficker named under the
Kingpin Act: Mullah Naim Barich Chart, Press                               On January 30, 2013, OFAC identified the following foreign
                                                                           individual and foreign entity as significant narcotics traffickers
     (1201) BARICH, Mohammad Naim*                                         named under the Kingpin Act. Los Rastrojos Chart, Press

On November 20, 2012, OFAC identified the following 5 foreign                        Individual:
individuals and 3 foreign entities as derivative designations of a              (1228) PEREZ HENAO, Diego*
significant narcotics trafficker named under the Kingpin Act: Ibarra
Cadona Chart, Press

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                                                                                                               1:16-cv-01730 0314
    Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 318 of 326


          Entity:
     (1229) LOS RASTROJOS*                                             On May 14, 2013, OFAC identified the following foreign
                                                                       individual as a significant narcotics trafficker named under the
On February 5, 2013, OFAC identified the following foreign             Kingpin Act. Trafficker Tied to Los Zetas Chart, Press
individual and 2 foreign entities as derivative designations of
significant narcotics traffickers named under the Kingpin Act.                   Individual:
OFAC also identified the 3 entities below as blocked under the              (1252) ANDRADE PARRA, Alfredo*
Kingpin Act. Los Zetas Chart, Press
                                                                       On June 12, 2013 OFAC identified the following 18 foreign
          Individual:                                                  individuals and 15 foreign entities as derivative designations of
                                                                       significant narcotics traffickers named under the Kingpin Act. Caro
     (1230) GARCIA AYALA, Filemon
                                                                       Quintero Organization Chart, Press
          Entities:
                                                                                 Individuals:
     (1231) TRASTREVA S.A. DE C.V.
                                                                            (1253) ADIB MADERO, Michel
     (1232) PRODIRA CASA DE CAMBIO, ACTIVIDAD
                                                                            (1254) BUENROSTRO VILLA, Denisse
             AUXILIAR DEL CREDITO S.A.DE C.V.
                                                                            (1255) CARO ELENES, Hector Rafael
                                                                            (1256) CARO ELENES, Henoch Emilio
         Blockings:
                                                                            (1257) CARO ELENES, Mario Yibran
        • PRODIRA S.A. DE C.V., CASA DE CAMBIO,
                                                                            (1258) CARO ELENES Roxana Elizabeth
     ACTIVIDAD DEL CREDITO
                                                                            (1259) CONTRERAS SANCHEZ, Diego
        • PRODIRA, INC.
                                                                            (1260) Individual Removed On October 15, 2015
        • INTERNACIONAL & NACIONAL EXCHANGE
                                                                            (1261) ELENES LERMA, Maria Elizabeth
     SERVICES, INC.
                                                                            (1262) GARZA RODRIGUEZ, Beatriz
                                                                            (1263) RIEBELING CORDERO, Hilda
On February 20, 2013, OFAC identified the following 1 foreign
individual as a significant foreign narcotics trafficker named under        (1264) SANCHEZ BARBA, Jose de Jesus
the Kingpin Act. Linares Castillo Chart, Press                              (1265) SANCHEZ GARZA, Diego
                                                                            (1266) SANCHEZ GARZA, Mauricio
          Individual:                                                       (1267) SANCHEZ GARZA, Jose de Jesus
     (1233) LINARES CASTILLO, Jose Evaristo*                                (1268) SANCHEZ GONZALES, Ernesto
                                                                            (1269) SANCHEZ GONZALES, Ruben
On April 9, 2013, OFAC identified the following foreign individual          (1270) VARGAS CORREA, Humberto
as a significant narcotics trafficker and the following 2 foreign
individuals and 7 foreign entities as derivative designations of                 Entities:
significant narcotics traffickers named under the Kingpin Act.              (1271) BLUE POINT SALT, S.A. DE C.V.
Handal Perez Chart, Press                                                   (1272) DBARDI, S.A. DE C.V.
                                                                            (1273) DESARROLLOS BIO GAS, S.A. DE C.V.
          Individuals:                                                      (1274) ECA ENERGETICOS, S.A. DE C.V.
     (1234) Individual Removed On November 19, 2015                         (1275) EL BANO DE MARIA, S. DE R.L. DE C.V.
     (1235) HANDAL PEREZ, Jose Miguel*                                      (1276) EVCOMER, S.A. DE C.V.
     (1236) HERNANDEZ AMAYA, Ena Elizabeth                                  (1277) GRUPO CONSTRUCTOR SEGUNDO MILENIO,
                                                                                    S.A. DE C.V.
          Entities:                                                         (1278) GRUPO FRACSA, S.A. DE C.V.
     (1237) AUTO PARTES HANDAL S. DE R.L. DE C.V.                           (1279) HACIENDA LAS LIMAS, S.A. DE C.V.
     (1238) CORPORACION HANDAL S. DE R.L.                                   (1280) ORGANIC SALT, S.A. DE C.V.
     (1239) EASY CASH DE R.L.                                               (1281) PETRO BIO, S. DE R.L. DE C.V.
     (1240) J & E S. DE R.L.                                                (1282) PISCILANEA, S.A. DE C.V.
     (1241) JM TROYA                                                        (1283) PRONTO SHOES, S.A. DE C.V.
     (1242) RANCHO LA HERRADURA                                             (1284) REFORESTACIONES CARELES, S. DE P.R. DE
     (1243) SUPERTIENDAS HANDAL S. DE R.L.                                          R.L.
                                                                            (1285) RESTAURANT BAR LOS ANDARIEGOS, S.A. DE
On May 7, 2013, OFAC identified the following 8 foreign                             C.V.
individuals as derivative designations of significant narcotics
traffickers named under the Kingpin Act. Sinaloa Cartel Plaza          On July 9, 2013, OFAC identified the following 2 foreign
Bosses Chart, Press                                                    individuals as significant foreign narcotics traffickers and 7
                                                                       individuals and 22 entities as derivative designations of significant
                                                                       narcotics trafficker named under the Kingpin Act. Guberek Chart,
          Individuals:                                                 Press
     (1244) FLORES PACHECO, Cenobio
     (1245) LOPEZ AISPURO, Armando                                               Individuals:
     (1246) NIEBLAS NAVA, Guillermo                                         (1286) GUBEREK RAVINOVICZ, Isaac Perez *
     (1247) PAEZ SOTO, Ramon Ignacio                                        (1287) GUBEREK GRIMBERG, Henry *
     (1248) RASCON RAMIREZ, Jose Javier                                     (1288) CEBALLOS BUENO, Johanna Patricia
     (1249) SABORI CISNEROS, Raul                                           (1289) Individual Removed On January 27, 2015
     (1250) SALAZAR RAMIREZ, Jesus Alfredo                                  (1290) GRIMBERG DE GUBEREK, Sarah
     (1251) SOSA CANISALES, Felipe de Jesus                                 (1291) GUBEREK GRIMBERG, Felipe
                                                                            (1292) Individual Removed On April 28, 2015

                                                                                                                                          18


                                                                                                          1:16-cv-01730 0315
    Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 319 of 326


     (1293) Individual Removed On November 12, 2014                             Entities:
     (1294) TOVAR ZULETA, Jorge Eduardo                                    (1330) COMPANIA GANDERA 5 MANANTIALES S. DE
                                                                                   P.R. DE R.L.
          Entities:
     (1295) AVANTI JOYEROS E.U.                                       On August 20, 2013, OFAC identified the following foreign
     (1296) BRACRO S.A.                                               individual as a derivative designation of a significant narcotics
     (1297) C.I. CAFFEE VALORES S.A.                                  trafficker named under the Kingpin Act. Trafficker Tied to Los
     (1298) C.I. DEL ISTMO S.A.S.                                     Zetas Orellana Morales Chart, Press
     (1299) CHAPS INVESTMENT INC.                                               Individual:
     (1300) COLOMBO PERUANA DE TEJIDOS S.A.                                (1331) ORELLANA MORALES, Jairo Estuardo
     (1301) COMERCIALIZADORA INTERNACIONAL
             ANDINA LIMITADA                                          On August 21, 2013, OFAC identified the following foreign
     (1302) COMPANIA REAL DE PANAMA S.A.                              individual as a significant narcotics trafficker named under the
     (1303) CONSTRUCTORA NACIONAL DE PANAMA S.A.                      Kingpin Act. Villarroel Ramirez Chart, Press
     (1304) FUNDACION ISSARA                                                    Individual:
     (1305) G&G INTERNACIONAL S.A.S.                                       (1332) VILLARROEL RAMIREZ, Vassyly Kotosky*
     (1306) GUBEREK GRIMBERG E HIJOS Y CIA. S. EN C.
     (1307) I&S HOLDING COMPANY, S.A.                                 On August 22, 2013, OFAC identified the following 5 foreign
     (1308) IMPAN-COL, S.A.                                           individuals as derivative designations of a significant narcotics
     (1309) INDUITEX LTDA.                                            trafficker named under the Kingpin Act. EMO Chart, Press
     (1310) INVERSIONES GILFE S.A.
     (1311) INVERSORA PANACOL S.A.                                              Individuals:
     (1312) ISSA EMPRESA UNIPERSONAL                                       (1333) PARRA SANCHEZ, Mario
     (1313) ORBITAL HORIZONS CORP.                                         (1334) SOLIS AVILES, Angello de Jesus
     (1314) PROMESAS DEL FUTBOL COLOMBIANO S.A.                            (1335) VALDEZ RODRIGUEZ, Manuel Arturo
     (1315) SBT S.A.                                                       (1336) VALENZUELA VALENZUELA, Vanessa
     (1316) T.F.M.C. THE FOOD MANAGEMENT                                   (1337) VILLEGAS LOERA, Juan Carlos
             CORPORATION LTD
                                                                      On September 19, 2013, OFAC identified the following 2 foreign
                                                                      individuals as significant foreign narcotics traffickers and 5 foreign
On July 23, 2013, OFAC identified the following 2 individuals as
                                                                      individuals and 5 foreign entities as derivative designations of a
derivative designations of a significant narcotics trafficker named
                                                                      significant narcotics trafficker named under the Kingpin Act.
under the Kingpin Act. Zetas Financial Operatives Chart, Press
                                                                      Cachiros Chart, Press
          Individuals:                                                          Individuals:
     (1317) LOPEZ GUERRERO, Ismael                                          (1338) LIRA JIRON, Bismarck Antonio
     (1318) RAMIREZ PERALES, Jose Odilon                                    (1339) MARADIAGA LOPEZ, Esperanza Caridad
                                                                            (1340) RIVERA CARDONA, Santos Isidro
On July 30, 2013, OFAC identified the following 3 individuals and           (1341) RIVERA MARADIAGA, Devis Leonel*
3 entities as derivative designations of a significant narcotics            (1342) RIVERA MARADIAGA, Javier Eriberto*
trafficker named under the Kingpin Act. Chart, Press                        (1343) RIVERA MARADIAGA, Maira Lizeth
                                                                            (1344) RIVERA MARADIAGA, Santos Isidro
          Individuals:
     (1319) Individual Removed On August 27, 2015                                Entities:
     (1320) GARCIA RIOS, Tomasa                                             (1345) GANADEROS AGRICULTORES DEL NORTE, S.
                                                                                     DE R.L. DE C.V.
     (1321) VERDUGO GARCIA, Monica Janeth
                                                                            (1346) INMOBILIARIA RIVERA MARADIAGA, S.A. DE
                                                                                     C.V.
          Entities:                                                          (1347) INVERSIONES TURISTICAS JOYA GRANDE,
     (1322) CENTRO COMERCIAL Y                                                       S.A. DE C.V.
             HABITACIONALLOMAS, S.A. DE C.V.                                 (1348) MINERA MI ESPERANZA, S.A.
     (1323) PARQUE ACUATICO LOS CASCABELES, S.A.                             (1349) PALMA DEL BAJO AGUAN, S.A.
             DE C.V.
     (1324) RANCHO AGRICOLA GANADERO LOS                              On September 24, 2013, OFAC identified the following 5 foreign
             MEZQUITES                                                individuals and 6 foreign entities as derivative designations of a
                                                                      significant narcotics trafficker named under the Kingpin Act. Los
On August 1, 2013, OFAC identified the following 5 individuals        Gueros Chart, Press
and 1 entity as derivative designations of a significant narcotics
trafficker named under the Kingpin Act. Accomplices of Los Zetas                 Individuals:
Chart, Press                                                                 (1350) DURAN NUNEZ, Juan Carlos
                                                                             (1351) ELIZONDO CASTANEDA, Andres Martin
                                                                             (1352) OLIVERA JIMENEZ, Juana
          Individuals:
                                                                             (1353) REYES MAGANA, Felipe
     (1325) FERNANDEZ DE LUNA, Gerardo                                       (1354) RODRIGUEZ OLIVERA, Rosalina
     (1326) FERNANDEZ DE LUNA, Jesus
     (1327) FERNANDEZ GONZALEZ, Carolina                                         Entities:
     (1328) GONZALEZ MUNIZ, Emilio Guillermo                                 (1355) ASESORIA Y SERVICIOS ADMINISTRATIVOS,
     (1329) GONZALEZ MUNIZ, Esperanza Maria                                          TECNICOS Y OPERATIVOS DUREL, S.A. DE
                                                                                     C.V.


                                                                                                                                          19


                                                                                                          1:16-cv-01730 0316
    Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 320 of 326


       (1356) CASA EL VIEJO LUIS DISTRIBUIDORA, S.A.                     On November 14, 2013, OFAC designated the following 2
               DE C.V.                                                   individuals and 1 entity as derivative designations of a significant
       (1357) GRUPO COMMERCIAL ROOL, S.A. DE C.V.                        foreign narcotics trafficker named under the Kingpin Act. Beltran
       (1358) OPERADORA Y ADMINISTRADORA DE                              Leyva Chart, Press
               RESTAURANTES Y BARES RUDU, S.A. DE
               C.V.                                                                 Individuals:
       (1359) RANCHO EL NUEVO PACHON, S. DE R.L. DE                             (1392) LOZA HERNANDEZ, Miguel
               C.V.                                                             (1393) VILLA SANCHEZ, Arnoldo
       (1360) ROOL EUROPE AG
                                                                                    Entities:
On September 30, 2013, OFAC designated the following 2 foreign                  (1394) SISTEMAS ELITE DE SEGURIDAD PRIVADA,
individuals and 1entity as derivative designations of a significant                     S.A. DE C.V.
foreign narcotics trafficker named under the Kingpin Act.
Esparragoza Moreno Network Chart, Press                                  On January 8, 2014, OFAC designated the following foreign
                                                                         individual as a derivative designation of a significant foreign
           Individuals:                                                  narcotics trafficker named under the Kingpin Act. Arechiga
       (1361) PADRO PASTOR, Alvaro                                       Gamboa Chart, Press
       (1362) VALLARTA ESCALANTE, Luis Francisco
                                                                                    Individual:
           Entities:                                                            (1395) ARECHIGA GAMBOA, Jose Rodrigo
       (1363) CASA V
                                                                         On January 16, 2014, OFAC designated the following foreign
On October 29, 2013, OFAC designated the following 2 foreign             individual as a derivative designation of a significant foreign
individuals and 5 entities as derivative designations of a significant   narcotics trafficker named under the Kingpin Act. Tapia Quintero
foreign narcotics trafficker named under the Kingpin Act. Guberek        Chart, Press
Chart, Press
                                                                                    Individual:
           Individuals:                                                         (1396) TAPIA QUINTERO, Jose Guadalupe
       (1364) CALLE QUIROS, Luis Santiago
       (1365) RODRIGUEZ BADILLO, Maria Paloma                            On February 11, 2014, OFAC identified the following foreign
                                                                         individual as a significant foreign narcotics trafficker and 1 entity
           Entities:                                                     as a derivative designation of a significant narcotics trafficker
       (1366) Entity Removed On April 28, 2015                           named under the Kingpin Act. Chart, Press
       (1367) CASTIZAL MADRILENA S.L.
       (1368) INMOBILIARIA CASTIZAL S.A.C.                                          Individual:
       (1369) TEXTIMAX SPAIN S.L.                                               (1397) JAN, Lahore*
       (1370) UCALSA PERU S.A.
                                                                                    Entity:
On October 31, 2013, OFAC designated the following individual                   (1398) LAHORE JAN SHANWARI EXCHANGE
and 20 entities as derivative designations of a significant foreign
narcotics trafficker named under the Kingpin Act. Caro Quintero          On February 14, 2014, OFAC designated the following individual
Organization Chart, Press                                                and 1 entity as derivative designations of a significant foreign
                                                                         narcotics trafficker named under the Kingpin Act. Chart, Press
           Individuals:
       (1371) SOTO RUIZ, Juan Carlos                                                Individual:
                                                                                (1399) RIOS HERNANDEZ, Juanita Del Carmen
           Entities:
       (1372) ARRENDADORA TURIN, S.A.                                               Entity:
       (1373) BARSAT, S.A. DE C.V.                                              (1400) DISTRIBUIDORA E IMPORTADORA DE
       (1374) DESARROLLADORA SAN FRANCISCO DEL                                          PRODUCTOS MEDICOS DEL NORTE S.A. DE
               RINCON, S.A. DE C.V.                                                     C.V.
       (1375) DINERMAS, S. DE R.L. DE C.V.
       (1376) ENERGETICOS VAGO, S.A. DE C.V.                             On February 19, 2014, OFAC identified the following foreign
       (1377) ESTACION DE SERVICIO ATEMAJAC, S.A. DE                     individual as significant foreign narcotics trafficker and 7
               C.V.                                                      individuals and 5 entities as derivative designations of significant
       (1378) FORTANAS, S. DE R.L. DE C.V.                               foreign narcotics traffickers named under the Kingpin Act.
       (1379) GRUPO BARSATERRA S.A. DE C.V.                              Rodriguez Vasquez Chart, Press
       (1380) GRUPO ESPANOL ELCAR, S.A. DE C.V.
       (1381) INMOBILIARIA PROMINENTE, S.A. DE C.V.                                 Individuals:
       (1382) MINERALES NUEVA ERA, S.A. DE C.V.                                 (1401) CASANOVA ORDONEZ, Hermes Alirio
       (1383) MINERALES NUEVA GENERACION, S.A. DE                               (1402) CUELLAR CASTRO, Luis Eduardo
               C.V.                                                             (1403) MONJE ALVARADO, Jonh Eduarth
       (1384) NUEVA TERRA, S. DE R.L. DE C.V.                                   (1404) QUINTERO CABALLERO, Luis Ramiro
       (1385) OPERADORA ENGO, S.C.                                              (1405) RODRIGUEZ VASQUEZ, Fernain*
       (1386) PETRO LONDON, S. DE R.L. DE C.V.                                  (1406) SABAGH CAJELI, Romez Jose
       (1387) PETRO MAS, S. DE R.L. DE C.V.                                     (1407) VILLOTA SEGURA, Aldemar
       (1388) PROMI FEL, S. DE R.L. DE C.V.                                     (1408) VILLOTA SEGURA, Segundo Alberto
       (1389) SERVICIO Y OPERADORA SANTA ANA, S.A.
               DE C.V.                                                              Entities:
       (1390) TAXI AEREO NACIONAL DE CULIACAN, S.A.                             (1409) AGRO NEGOCIOS SAJE LTDA
       (1391) VILLAS DEL COLLI S.A. DE C.V.                                     (1410) ALMACEN SONIPAL
                                                                                (1411) EL KAIRO INTERNACIONAL SAS

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                                                                                                             1:16-cv-01730 0317
    Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 321 of 326


       (1412) INTERNACIONAL MONEY SERVICIO LTDA                               (1445) INMOBILIARIA ASYSA
       (1413) INVERSIONES Y REPRESENTACIONES EL                               (1446) INMOBILIARIA CORSANCH
               CAIRO LTDA                                                     (1447) INMOBILIARIA NOVSA
                                                                              (1448) INMOBILIARIA GORSA
On February 27, 2014, OFAC identified the following 7 individuals
and 10 entities as derivative designations of significant foreign      On May 1, 2014, OFAC identified the following individual as a
narcotics traffickers named under the Kingpin Act. Chart, Press        significant foreign narcotics trafficker and one individual and 4
                                                                       entities as derivative designations of a significant foreign narcotics
           Individuals:                                                trafficker named under the Kingpin Act. Chart, Press
       (1414) AMARILLAS LOPEZ, Gabriela
       (1415) CUELLAR HURTADO, Hugo                                               Individuals:
       (1416) CUELLAR SILVA, John Fredy                                       (1449) AHMADY MOHAMMAD DIN, Atiqullah*
       (1417) CUELLAR SILVA, Victor Hugo                                      (1450) AHMADY MOHAMMAD DIN, Sadiq
       (1418) CUELLAR SILVA, Jenny Johanna
       (1419) MIRAMONTES GUTIERREZ, Ofelia Margarita                              Entities:
       (1420) VARGAS NUNEZ, Lucy Amparo                                       (1451) ATIQULLAH GENERAL TRADING CO LLC
                                                                              (1452) ETEHAD BEVERAGE CO LTD
           Entities:                                                          (1453) ETEHAD BROTHERS
       (1421) AGRICOLA Y GANADERA CUEMIR                                      (1454) ETIHAD GROUP OF AFGHANISTAN
       (1422) AGRO Y COMERCIO DE SANTA BARBARA
               LAGROMER S. EN C                                        On May 7, 2014, OFAC identified the following two individuals as
       (1423) CASA COMERCIAL ORO RAPIDO                                significant foreign narcotics traffickers and the 2 individuals and 4
       (1424) CASA COMERCIAL UNI QUINCE                                entities as derivative designations of significant foreign narcotics
               COMPRAVENTA                                             traffickers named under the Kingpin Act. Chart, Press
       (1425) CASA DE EMPENO GUADALAJARA
       (1426) COMPANIA AGRO COMERCIAL CUETA S. EN                                 Individuals:
               C.                                                             (1455) LOUIE, Daniel Maurice*
       (1427) COOPERATIVA AVESTRUZ CUEMIR                                     (1456) LOUIE, Francine Denise
       (1428) HOTEL PARAISO RESORT EN                                         (1457) LOUIE, Kevin Gim*
               ARRENDAMIENTO                                                  (1458) PRIMUS, Tramayne John
       (1429) INVERSIONES HUNEL LTDA
       (1430) PRENDA TODO                                                         Entities:
                                                                              (1459) BOYLE CHEMICAL CO., LTD.
On March 13, 2014, OFAC identified the following individual as a              (1460) LEADING EDGE SOURCING CORPORATION
derivative designation of significant foreign narcotics traffickers           (1461) RESEARCH FX CONSULTANTS LIMITED
named under the Kingpin Act. Chart, Press                                     (1462) SOURCE1HERBS

           Individual:                                                 On May 14, 2014, OFAC identified the following 8 individuals and
       (1431) MENDOZA ROBLES, Eduardo                                  20 entities as derivative designations of significant foreign
                                                                       narcotics traffickers named under the Kingpin Act. Chart, Press
On March 26, 2014, OFAC identified the following individual as a
significant foreign narcotics trafficker named under the Kingpin                  Individuals:
Act. Press                                                                    (1463) CHEAITELLY SAHELI, Ali Hassan
                                                                              (1464) DELAROSA RAMOS, Jibran
           Individual:                                                        (1465) MARTINEZ LASSO, Vielka Judith
       (1432) ROZI, Pahlawan*                                                 (1466) MORAN SANCHEZ, Maria Janette
                                                                              (1467) OMEARA NAVARRO, Marylu
On April 09, 2014 OFAC identified the following foreign                       (1468) PEREZ FABREGA, Margarita Ines
individual as a significant foreign narcotics trafficker named under          (1469) PLATA MCNULTY, Jorge Alberto
the Kingpin Act. Chart, Press                                                 (1470) PLATA RIVERA, Ignacio Eduardo

           Individual:                                                            Entities:
       (1433) LOBO, Carlos Arnoldo*                                           (1471) Entity Removed On October 21, 2014
                                                                              (1472) BEAUTY STATION, S.A.
On April 10, 2014 OFAC identified the following 5 individuals and             (1473) BERLIN INDUSTRIES, CORP.
10 entities as derivative designations of significant foreign                 (1474) BERLIN INTERNACIONAL S.A.
narcotics traffickers named under the Kingpin Act. Chart, Press               (1475) BIESTRA S.A.
                                                                              (1476) C M F INTERNACIONAL, INC.
           Individuals:                                                       (1477) EURO FINANCING, CORP.
       (1434) CONTRERAS SANCHEZ, Maria Aurora                                 (1478) EUROCAMBIO INVESTMENT S.A.
       (1435) ROSALES MORFIN, Eva Luz                                         (1479) FAUSSE ISSA Y CIA. S. EN C.
       (1436) SANCHEZ GONZALEZ, Fernando                                      (1480) FUNDACION H.M.M.
       (1437) SANCHEZ GONZALEZ, Javier                                        (1481) GCH & SONS CO., INC.
       (1438) SANCHEZ GONZALEZ, Jose                                          (1482) GLOBANTY S.A.S.
                                                                              (1483) INMOBILIARIA DAVITOV S.A.
           Entities:                                                          (1484) INVERSIONES OMEGA INTERNACIONAL S.A.
       (1439) BOCADOS DE AUTOR                                                (1485) INVERSIONES TROL PANAMA S.A.
       (1440) CARIATIDE GRUPO INMOBILIARIO                                    (1486) LILIANA ESQUENAZI M. & CIA. S. C. S.
       (1441) CONSTRUCTORA ACANTU                                             (1487) NETLLUX MOVIL S.A. DE C.V.
       (1442) GRUPO INMOBILIARIO OCSA                                         (1488) RESTAURANTE BEIRUT MEXICO S.A. DE C.V.
       (1443) GROUP INSA                                                      (1489) THEA HOLDING & CO., INC.
       (1444) GRUPO ISAYAS                                                    (1490) YORUMA SHIPPING COMPANY, S.A.

                                                                                                                                          21


                                                                                                           1:16-cv-01730 0318
    Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 322 of 326


                                                                               (1529) MESA PAEZ, Aristides Manuel
  On May 15, 2014, OFAC identified the following 3 individuals                 (1530) MONTOYA USUGA, Alexander
  and 3 entities as derivative designations of significant foreign             (1531) MORENO TUBERQUIA, Carlos Antonio
  narcotics traffickers named under the Kingpin Act. Chart, Press              (1532) PADIERNA PENA, Luis Orlando
                                                                               (1533) PALENCIA GONZALEZ, Cipriam Manuel
           Individuals:                                                        (1534) ROBAYO ESCOBAR, Carlos Jose
       (1491) ROMERO ZEVADA, Demetrio                                          (1535) URDINOLA ALVAREZ, Hector Mario
       (1492) ZAZUETA GODOY, Heriberto                                         (1536) USUGA TORRES, Arley
       (1493) ZAZUETA GOMEZ, Leopoldo                                          (1537) VARON CADENA, Greilyn Fernando
                                                                               (1538) VARON CADENA, Ingrid Edith
           Entities:                                                           (1539) VARON CADENA, Maribel
       (1494) COMERCIALIZADORA Y FRIGORIFICOS DE
               LA PERLA DEL PACIFICO, S.A. DE C.V.                                 Entities:
       (1495) PRODUCCION PESQUERA DONA MARIELA,                                (1540) COMERCIALIZADORA J DURANGO
               S.A. DE C.V.                                                    (1541) H Y J COMERCIALIZADORA INTERNACIONAL
       (1496) TAIPEN, S.A. DE D.V.                                                     LTDA
                                                                               (1542) INMOBILIARIA FER CADENA
On June 26, 2014, OFAC identified the following entity as a                    (1543) JOYERIA MANUELLA H.M.
significant foreign narcotics trafficker named under the Kingpin               (1544) LITOGRAFIA VARON
Act. Press                                                                     (1545) VARIEDADES BRITNEY

           Entity:                                                      On July 29, 2014, OFAC identified the following individual and
       (1497) LA OFICINA DE ENVIGADO*                                   entity as significant foreign narcotics traffickers and the following
                                                                        3 individuals as derivative designations of significant foreign
On July 1, 2014, OFAC identified the following individual as a          narcotics traffickers named under the Kingpin Act. Chart, Press
significant foreign narcotics trafficker and the following 11
individuals and 14 entities as derivative designations of significant              Individuals:
foreign narcotics traffickers named under the Kingpin Act. Chart,              (1546) HU, Yongan
Press                                                                          (1547) WANG, Guoying
                                                                               (1548) ZHANG, Jicheng
           Individuals:                                                        (1549) ZHANG, Lei*
       (1498) ALZATE GIRALDO, Rosalba
       (1499) BARCO MEJIA, Jesus Rodolfo                                           Entity:
       (1500) BARCO MEJIA, Jose Albeiro                                        (1550) CEC LIMITED*
       (1501) BARCO MEJIA, Jose Guillermo
       (1502) BEDOYA ESPINOSA, Humberto Antonio                         On August 20, 2014, OFAC identified the following individual and
       (1503) MEJIA ALZATE, Andres Camilo                               entity as significant foreign narcotics traffickers and the following
       (1504) MEJIA ALZATE, Jose Alejandro                              2 individuals and 4 entities as derivative designations of significant
       (1505) MEJIA ALZATE, Juan Carlos                                 foreign narcotics traffickers named under the Kingpin Act. Chart,
       (1506) MEJIA ALZATE, Maria Leivy                                 Press
       (1507) MEJIA ALZATE, Victor Gabriel
       (1508) MEJIA SALAZAR, Pedro Claver*                                         Individuals:
       (1509) MIRA PEREZ, Fredy Alonso                                         (1551) VALLE VALLE, Jose Reynerio
                                                                               (1552) VALLE VALLE, Luis Alonso
           Entities:                                                           (1553) VALLE VALLE, Miguel Arnulfo*
       (1510) ALMACEN GUIBAR
       (1511) ALMEQUIP S.A.S.                                                      Entities:
       (1512) ARENERA EL CERREJON                                              (1554) FINCA LOS TRES REYES
       (1513) ASESORIA Y ASISTENCIA AGROPECUARIA Y                             (1555) INVERSIONES LUISITO
               AMBIENTAL A4                                                    (1556) INVERSIONES VALLE
       (1514) CANTERAS COPACABANA S.A.                                         (1557) INVERSIONES YOSARY
       (1515) E – PROFESIONAL                                                  (1558) LOS VALLES DRUG TRAFFICKING
       (1516) GRUPO EMPRESARIAL ENKOR PROFESIONAL                                      ORGANIZATION*
               S.A.S.
       (1517) GRUPO EMPRESARIAL GHEMA S.A.S.                            On August 27, 2014, OFAC identified the following individual as a
       (1518) INVERSIONES MEYBAR S.A.S.                                 significant foreign narcotics trafficker named under the Kingpin
       (1519) MEJIA ALZATE ASOCIADOS Y CIA. LTDA.                       Act. Chart, Press
       (1520) PROMOTORA TURISTICA SOL PLAZA S.A.
       (1521) ROSAGRO S.A.S.                                                       Individual:
       (1522) TRITCON S.A.S.                                                   (1559) QUINTERO NAVIDAD, Sajid Emilio*
       (1523) VARIEDADES JOSE ALBEIRO BARCO M.
                                                                        On September 11, 2014, OFAC identified the following 3
On July 23, 2014, OFAC identified the following 16 individuals          individuals and 1 entity as derivative designations of significant
and 6 entities as derivative designations of significant foreign        foreign narcotics traffickers named under the Kingpin Act. Chart,
narcotics traffickers named under the Kingpin Act. Chart, Press         Press

           Individuals:                                                            Individuals:
       (1524) ALVAREZ PINEDA, Rafael                                           (1560) AVINA BRIBIESCA, Jose
       (1525) ANAYA MARTINEZ, Cesar Daniel                                     (1561) GONZALEZ HERNANDEZ, Ignacio
       (1526) DURANGO RESTREPO, Jairo de Jesus                                 (1562) GONZALEZ LINARES, Janette Iliana
       (1527) GUTIERREZ RENDON, Orlando
       (1528) LOPEZ LONDONO, Henry de Jesus                                        Entity:

                                                                                                                                          22


                                                                                                            1:16-cv-01730 0319
    Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 323 of 326


       (1563) BONA-HABITAT, S.A. DE C.V.                                  individuals as derivative designations of a significant foreign
                                                                          narcotics trafficker named under the Kingpin Act. Chart, Press
On September 16, 2014, OFAC identified the following 8
individuals as derivative designations of significant foreign                        Individuals:
narcotics traffickers named under the Kingpin Act. Chart, Press                  (1600) GASTELUM SERRANO, Alfredo
                                                                                 (1601) GASTELUM SERRANO, Cesar*
           Individuals:                                                          (1602) GASTELUM SERRANO, Guadalupe Candelario
       (1564) GONZALEZ VASQUEZ, Julian Andrey                                    (1603) GASTELUM SERRANO, Jaime
       (1565) HERNANDEZ GRISALES, Jesus David
       (1566) MEDINA CARDONA, Rubiel                                      On January 16, 2015, OFAC identified the following 2 individuals
       (1567) MESA VALLEJO, Juan Carlos                                   and entity as derivative designations of significant foreign narcotics
       (1568) MUNOZ AGUDELO, Diego Alberto                                traffickers named under the Kingpin Act. Chart, Press
       (1569) RAMIREZ GARCIA, Freyner Alfonso
       (1570) RIOS LOPEZ, Didier de Jesus                                            Individuals:
       (1571) ROJAS, Edinson Rodolfo                                             (1604) BILAKHIA, Aziz Moosa
                                                                                 (1605) KASKAR, Shaikh Anis Ibrahim
On November 6, 2014, OFAC identified the following individual as
a significant foreign narcotics trafficker and the following                         Entity:
individual and entity as derivative designations of significant                  (1606) MEHRAN PAPER MILL
foreign narcotics traffickers named under the Kingpin Act. Chart,
Press                                                                     On January 27, 2015, OFAC identified the following 2 individuals
                                                                          as derivative designations of a significant foreign narcotics
           Individuals:                                                   trafficker named under the Kingpin Act. Chart, Press
       (1572) PEREZ OCAMPO, German Alberto*
       (1573) PEREZ OCAMPO, Santiago                                                 Individuals:
                                                                                 (1607) FELIX BELTRAN, Victor Manuel
           Entity:                                                               (1608) LIMON SANCHEZ, Alfonso
       (1574) COMPRA VENTA GERPEZ
                                                                          On February 17, 2015, OFAC identified the following individual
On November 19, 2014, OFAC identified the following 10                    and entity as derivative designations of a significant foreign
individuals and 14 entities as derivative designations of significant     narcotics trafficker named under the Kingpin Act. Chart, Press
foreign narcotics traffickers named under the Kingpin Act. Chart,
Press                                                                                Individual:
                                                                                 (1609) GASTELUM SERRANO, Francisco Javier
           Individuals:
       (1575) ARREDONDO ORTIZ, Carlos Arturo                                         Entity:
       (1576) BEDOYA LOPEZ, Gildardo de Jesus                                    (1610) ANDAMIOS DALMINE DE MEXICO, S.A.
       (1577) ECHEVERRI PAREJA, Oscar Alonso
       (1578) GALLEGO ORREGO, Margarita Zulay                             On February 24, 2015, OFAC identified the following 5 individuals
       (1579) GARCIA ARBOLEDA, Edward                                     and 14 entities as derivative designations of a significant foreign
       (1580) GUTIERREZ RESTREPO, Luis Fernando                           narcotics trafficker named under the Kingpin Act. Chart, Press
       (1581) ISAZA SANCHEZ, Felix Alberto
       (1582) ISAZA SANCHEZ, Nelson Dario                                            Individuals:
       (1583) RUIZ MADRID, Adriana Maria                                         (1611) DONKO, Dejan
       (1584) UPEGUI GALLEGO, Juan Pablo                                         (1612) KARNER, Alenka
                                                                                 (1613) KARNER, Matevz
           Entities:                                                             (1614) SLIVNIK, Uros
       (1585) ACUAMATERIALES Y CIA. LIMITADA                                     (1615) STJEPANOVIC, Savo
       (1586) CAFETERIA ENVICENTRO
       (1587) CARYTES ENCANTO Y BELLEZA                                              Entities:
       (1588) CENTRO DE DIAGNOSTICO AUTOMOTOR                                    (1616) AMMERSHAM COMMERCIAL VENTURES
               DEL SUR LTDA.                                                             LIMITED
       (1589) COLOMBIANA DE BIOCOMBUSTIBLES S.A.                                 (1617) BAMEX LIMITED
       (1590) ENFARRADOS COMPANY S.A.S.                                          (1618) KALLIOPE LIMITED
       (1591) ENVIGADO FUTBOL CLUB S.A.                                          (1619) KARNER D.O.O. LJUBLJANA
       (1592) GARCES Y BEDOYA CIA. LTDA                                          (1620) MERIDEIS D.O.O.
       (1593) IMPORTADORA MARENOL LIMITADA                                       (1621) NORTH GROUP HOLDING CORP.
       (1594) INVERSIONES C.P.C.L. Y CIA. S. EN C.S.                             (1622) NORTHSTAR TRADING CORPORATION
       (1595) LA TIENDA DE MINGO                                                 (1623) PABAS HOLDING CORP.
       (1596) REPRESENTACIONES MIDAS                                             (1624) PALEA D.O.O.
       (1597) ROBIREPUESTOS                                                      (1625) PANACEA INTERNATIONAL LTD.
       (1598) TIENDAS MARGOS                                                     (1626) PANYA AG
                                                                                 (1627) SAGAX INVESTMENT GROUP LTD.
On December 18, 2014, OFAC identified the following individual                   (1628) SIS D.O.O.
as a derivate designation of a significant foreign narcotics trafficker          (1629) VELINVESTMENT D.O.O.
named under the Kingpin Act. Chart, Press
                                                                          On March 18, 2015, OFAC identified the following 3 individuals as
           Individual:                                                    derivative designations of a significant foreign narcotics trafficker
       (1599) ARAUJO URIARTE, Alejandra                                   named under the Kingpin Act. Chart, Press

On December 23, 2014, OFAC identified the following individual                       Individuals:
as a significant foreign narcotics trafficker and the following 3                (1630) CABRERA SARABIA, Alejandro

                                                                                                                                            23


                                                                                                             1:16-cv-01730 0320
    Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 324 of 326


       (1631) CABRERA SARABIA, Felipe                                               Individuals:
       (1632) CABRERA SARABIA, Jose Luis                                        (1661) FLORES HALA, Florindo Eleuterio
                                                                                (1662) QUISPE PALOMINO, Jorge
On March 24, 2015, OFAC identified the following 4 individuals                  (1663) QUISPE PALOMINO, Victor
and 5 entities as derivative designations of a significant foreign
narcotics trafficker named under the Kingpin Act. Chart, Press           On June 24, 2015, OFAC identified the following 5 individuals and
                                                                         1 entity as derivative designations of significant foreign narcotics
           Individuals:                                                  traffickers named under the Kingpin Act. Chart, Press
       (1633) KELMENDI, Besnik
       (1634) KELMENDI, Donata                                                      Individuals:
       (1635) KELMENDI, Elvis                                                   (1664) CARTAGENA BENITEZ, Octavio
       (1636) KELMENDI, Liridon                                                 (1665) GALLON HENAO, Juan Santiago
                                                                                (1666) GALLON HENAO, Pedro David
           Entities:                                                            (1667) GIRALDO OCHOA, Hugo Humberto
       (1637) DONATA COMPANY D.O.O.                                             (1668) OCHOA MESA, Reinaldo
       (1638) HOTEL CASA GRANDE - SARAJEVO, BOSNIA
               AND HERZEGOVINA                                                      Entity:
       (1639) HOTEL CASA GRANDE - ULCINJ,                                       (1669) SEMILLANOS S.A.
               MONTENEGRO
       (1640) N.P.T.T. DONA-SHELL                                        On August 19, 2015, OFAC identified the following 6 individuals
       (1641) PREDSTAVNISTVO CASAGRANDE EXPORT-                          and 15 entities as derivative designations of significant foreign
               IMPORT                                                    narcotics traffickers named under the Kingpin Act. Chart, Press

On April 8, 2015, OFAC identified the following 2 individuals and                   Individuals:
2 entities as significant foreign narcotics traffickers named under             (1670) AMARAL AREVALO, Wendy Dalaithy
the Kingpin Act. Chart, Press                                                   (1671) CAMACHO CAZARES, Jeniffer Beaney
                                                                                (1672) MARQUEZ GALLEGOS, Ma Elena
           Individuals:                                                         (1673) SANCHEZ CARLON, Diana Maria
       (1642) GONZALEZ VALENCIA, Abigael*                                       (1674) SANCHEZ CARLON, Silvia Romina
       (1643) OSEGUERA CERVANTES, Nemesio*                                      (1675) TORRES GONZALEZ, Fernando

           Entities:                                                                Entities:
       (1644) CARTEL DE JALISCO NUEVA GENERACION*                               (1676) AG & CARLON, S.A. DE C.V.
       (1645) LOS CUINIS*                                                       (1677) AHOME REAL ESTATE, S.A. DE C.V.
                                                                                (1678) ARENAS DE LORETO
On May 21, 2015, OFAC identified the following 5 individuals and                (1679) BRIC INMOBILIARIA
1 entity as derivative designations of a significant foreign narcotics          (1680) CIRCULO COMERCIAL TOTAL DE
trafficker named under the Kingpin Act. Chart, Press                                    PRODUCTOS, S.A. DE C.V.
                                                                                (1681) CONSULTORIA INTEGRAL LA FUENTE,
           Individuals:                                                                 SOCIEDAD CIVIL
       (1646) BEATTIE DE BRIONES, Myriam Susana                                 (1682) DILAVA
       (1647) BRIONES RUIZ, Abel                                                (1683) GRUPO DIJEMA, S.A. DE C.V.
       (1648) BRIONES RUIZ, Claudia Aide                                        (1684) HD COLLECTION, S.A. DE C.V.
       (1649) NIETO GONZALEZ, Rogelio                                           (1685) HOTELITO DESCONOCIDO
       (1650) RUIZ DE BRIONES, Magdalena                                        (1686) INTERCORP LEGOCA, S.A. DE C.V.
                                                                                (1687) LA FIRMA MIRANDA, S.A. DE C.V.
           Entity:                                                              (1688) PLAZA LOS TULES
       (1651) COMBUSTIBLES BRIONES, S.A. DE C.V.                                (1689) W&G ARQUITECTOS, S.A. DE C.V.
                                                                                (1690) XAMAN HA CENTER
On May 22, 2015, OFAC identified the following 2 individuals as
significant foreign narcotics traffickers and the following 4            On August 27, 2015, OFAC identified the following 4 individuals
individuals and 3 entities as derivative designations of significant     and 2 entities as derivative designations of significant foreign
foreign narcotics traffickers named under the Kingpin Act. Chart,        narcotics traffickers named under the Kingpin Act. Chart, Press
Press
                                                                                    Individuals:
           Individuals:                                                         (1691) FONNEGRA ESPEJO, Adolfo
       (1652) BOLIVAR ZAPATA, Gustavo                                           (1692) GONZALEZ MEJIA, Cristian David
       (1653) BUSTAMANTE JARAMILLO, Luis Carlos                                 (1693) GONZALEZ ZAMORANO, Ivan
       (1654) GUARIN LOAIZA, Jose Berley*                                       (1694) PENA PACHECO, Jose Vicente
       (1655) MEDINA DIAZ, Herman De Jesus
       (1656) ROMERO RODRIGUEZ, Alexis                                              Entities:
       (1657) VARELA VICTORIA, Walter*                                          (1695) ADOLFO FONNEGRA ESPEJO TRADING &
                                                                                        INVESTMENT
           Entities:                                                            (1696) COLOMBIANO LATIN SHOP GMBH
       (1658) FREEZER AIR CONTRACTOR S.A.
       (1659) MEGAYATES LTDA                                             On September 17, 2015, OFAC identified the following 5 entities
       (1660) QUALITY AUTOS S.A.                                         as derivative designations of a significant foreign narcotics
                                                                         trafficker named under the Kingpin Act. Chart, Press
On June 1, 2015, OFAC identified the following 3 individuals as
derivative designations of a significant foreign narcotics trafficker               Entities:
named under the Kingpin Act. Chart, Press                                       (1697) J & P ADVERTISING, S.A. DE C.V.
                                                                                (1698) JJGON, S.P.R. DE R.L. DE C.V.

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                                                                                                           1:16-cv-01730 0321
    Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 325 of 326


       (1699) LAS FLORES CABANAS                                        On November 10, 2015, OFAC identified the following 2
       (1700) MIZU SUSHI LOUNGE                                         individuals and 2 entities as derivative designations of a significant
       (1701) ONZE BLACK                                                foreign narcotics trafficker named under the Kingpin Act. Chart,
                                                                        Press
On October 1, 2015, OFAC identified the following 6 individuals
and 11 entities as derivative designations of significant foreign                  Individuals:
narcotics traffickers named under the Kingpin Act. OFAC also                   (1734) FEO ALVARADO, Alveiro
identified the 5 vessels below as blocked under the Kingpin Act.               (1735) MOSQUERA PEREZ, Victor Alfonso
Chart, Press
                                                                                   Entities:
           Individuals:                                                        (1736) DE EXPOMINERIA S.A.S.
       (1702) EL BEZRI, Ahmad                                                  (1737) JOYERIA MVK
       (1703) MERHI, Atef Merhi Abou
       (1704) MERHI, Hana Merhi Abou                                    On November 24, 2015, OFAC identified the following 2
       (1705) MERHI, Merhi Ali Abou                                     individuals as derivative designations of a significant foreign
       (1706) NASR, Wajdi Yo                                            narcotics trafficker named under the Kingpin Act. Chart, Press
       (1707) NASREDDINE, Houeda Ahmadussef
                                                                                   Individuals:
           Entities:                                                           (1738) FERNANDEZ VALENCIA, Guadalupe
       (1708) ABOU MERHI CHARITY INSTITUTION                                   (1739) VALENZUELA VERDUGO, Jorge Mario
       (1709) ABOU MERHI COTONOU
       (1710) ABOU MERHI GROUP                                          For additional identifying information and separate entries for
       (1711) ABOU MERHI HAMBURG                                        each of the aliases of all of the foreign persons named under the
       (1712) ABOU MERHI NIGERIA                                        Kingpin Act see OFAC’s Specially Designated Nationals and
       (1713) ABOU-MERHI CRUISES SAL                                    Blocked Persons List (SDN List) with the identifier [SDNTK].
       (1714) ABOU-MERHI LINES SAL                                      The SDN List is available through the following page on
       (1715) LE MALL-SAIDA                                             OFAC’s Web site: www.treasury.gov/sdn
       (1716) LEBANON CENTER
       (1717) ORIENT QUEEN HOMES
       (1718) QUEEN STATIONS

           Blockings:
       •   CITY OF ANTWERP (3FRY8)
       •   CITY OF LUTECE (9HRJ6)
       •   CITY OF MISURATA (3EMY5)
       •   CITY OF TOKYO (D5GK6)
       •   ORIENT QUEEN II (3FDJ9)

On October 7, 2015, OFAC identified the following 3 individuals
as significant foreign narcotics traffickers and 10 entities as
derivative designations of significant foreign narcotics traffickers
named under the Kingpin Act. Chart, Press

           Individuals:
       (1719) ROSENTHAL COELLO, Yankel Antonio*
       (1720) ROSENTHAL HIDALGO, Yani Benjamin*
       (1721) ROSENTHAL OLIVIA, Jaime Rolando*

           Entities:
       (1722) BANCO CONTINENTAL, S.A.
       (1723) DESLAND OVERSEAS, LTD
       (1724) EMPACADORA CONTINENTAL, S.A. DE C.V.
       (1725) INVERCIONES CONTINENTAL, U.S.A., CORP
       (1726) INVERSIONES CONTINENTAL (PANAMA), S.A.
               DE C.V.
       (1727) INVERSIONES CONTINENTAL, S.A. DE C.V.
       (1728) PREYDEN INVESTMENTS, LTD
       (1729) SHELIMAR INVESTMENTS, LTD
       (1730) SHELIMAR REAL ESTATE HOLDINGS II, INC
       (1731) SHELIMAR REAL ESTATE HOLDINGS III, INC


On October 15, 2015, OFAC identified the following 1 individual
and 1 entity as significant foreign narcotics traffickers named under
the Kingpin Act. Chart, Press

           Individual:
       (1732) PENG, Bo*

           Entity:
       (1733) KAIKAI TECHNOLOGY CO., LTD.*


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                                                                                                            1:16-cv-01730 0322
    Case 1:16-cv-01730-CKK Document 19 Filed 12/20/16 Page 326 of 326

This document is explanatory only and does not have the force of law. Executive Order 12978, and its implementing Narcotics Trafficking
Sanctions Regulations (31 CFR Part 536), contain the legally binding provisions governing sanctions against narcotics traffickers centered in
Colombia. The Foreign Narcotics Kingpin Designation Act and the implementing regulations (31 C.F.R. Part 598) contain the legally binding
provisions governing the sanctions against significant foreign narcotics traffickers and their organizations. This document does not supplement or
modify Executive Order 12978, 31 CFR Part 536, 31 CFR Part 598 or the Foreign Narcotics Kingpin Designation Act.

The Treasury Department’s Office of Foreign Assets Control also administers sanctions programs involving the Balkans, Belarus, Burma, the
Central African Republic, Cote d’Ivoire, Cuba, Democratic Republic of the Congo, Rough Diamond Trading (Kimberley Process), Iran, Iraq,
Lebanon, Liberia, Libya, the Magnitsky Act, North Korea, South Sudan, Sudan, Syria, Ukraine, Yemen, and Zimbabwe, as well, persons who
commit, threaten to commit, or support terrorism, international narcotics traffickers, Foreign Terrorist Organizations, Terrorism List Governments,
transnational criminal organizations, cyber-related activities, and proliferators of weapons of mass destruction and their supporters. For additional
information about these programs or about sanctions involving Somalia, please contact the:

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